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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11

BOY SCOUTS OF AMERICA AND                              Case No. 20-10343(___)
DELAWARE BSA, LLC,1
                                                       (Joint Administration Requested)
                        Debtors.


                   CHAPTER 11 PLAN OF REORGANIZATION FOR
                BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

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Proposed Counsel for the Debtors and Debtors in Possession

Dated: February 18, 2020
        Wilmington, Delaware

1
    The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax
    identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The
    Debtors’ mailing address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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                                       INTRODUCTION

        Boy Scouts of America and Delaware BSA, LLC, the debtors and debtors in possession
in the above-captioned chapter 11 cases, hereby propose this plan of reorganization pursuant to
section 1121(a) of the Bankruptcy Code. Capitalized terms used herein shall have the meanings
ascribed to such terms in Section I.A. The Debtors are the proponents of the Plan within the
meaning of section 1129 of the Bankruptcy Code. Reference is made to the Disclosure
Statement for a discussion of the Debtors’ history, charitable mission, operations, projections for
those operations, risk factors, a summary and analysis of the Plan, and certain related matters.

                                           ARTICLE I

                   DEFINITIONS AND RULES OF INTERPRETATION

       A.      Definitions. The following terms shall have the meanings set forth below:

              1.     “2010 Bond” means The County Commission of Fayette County (West
Virginia) Commercial Development Revenue Bond (Arrow WV Project) Series 2010B in an
aggregate principal amount of $50,000,000, issued by the Issuer pursuant to the 2010 Bond
Agreement, the proceeds of which were loaned to the BSA pursuant to the 2010 Note.

               2.      “2010 Bond Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2010 Bond Documents, including any Claim for obligations,
indebtedness, and liabilities of the BSA arising pursuant to any of the 2010 Bond Documents,
whether now existing or hereafter arising, whether direct, indirect, related, unrelated, fixed,
contingent, liquidated, unliquidated, joint, several, or joint and several, including the obligation
of the BSA to repay the 2010 Note, interest on the 2010 Note, and all fees, costs, expenses and
obligations of any kind or character due or recoverable under the 2010 Bond Documents.

               3.    “2010 Bond Documents” means collectively, the 2010 Bond, the 2010
Bond Agreement, the 2010 Note, the Prepetition Security Agreement (2019), the Prepetition
Security Agreement (2020), and all documentation executed and delivered in connection
therewith, as amended, restated, supplemented or otherwise modified from time to time.

              4.     “2010 Bond Agreement” means that certain Bond Purchase and Loan
Agreement dated as of November 5, 2010 between the Issuer, JPMorgan, the BSA and Arrow
WV, Inc., as amended, restated, supplemented or otherwise modified from time to time.

                5.     “2010 Credit Agreement” means that certain Credit Agreement dated as of
August 11, 2010, pursuant to which JPMorgan, as lender, made term loans to the BSA in an
aggregate amount of $25,000,000 and agreed to make revolving loans to the BSA and issue
letters of credit on behalf of the BSA in an aggregate amount of up to $75,000,000, as such
agreement has been amended by that certain First Amendment to Credit Agreement dated as of
November 5, 2010, that certain Second Amendment to Credit Agreement dated as of November
11, 2011, that certain Third Amendment to Credit Agreement dated as of March 9, 2012, that
certain Fourth Amendment to Credit Agreement dated as of April 25, 2016, that certain Fifth
Amendment to Credit Agreement dated as of March 2, 2017, that certain Sixth Amendment to
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Credit Agreement dated as of February 15, 2018, and that certain Seventh Amendment to Credit
Agreement dated as of March 21, 2019.

               6.     “2010 Credit Facility Claim” means any Claim against the Debtors arising
under, derived from, or based upon the 2010 Credit Facility Documents, including any Claim for
obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2010 Credit
Documents, whether now existing or hereafter arising, whether direct, indirect, related,
unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and several,
including the obligation of the BSA to pay principal and interest, and all fees, costs, expenses
and other obligations of any kind or character due or recoverable under the 2010 Credit
Documents.

               7.     “2010 Credit Facility Documents” means, collectively, the 2010 Credit
Agreement, the Prepetition Security Agreement (2019), the Prepetition Security Agreement
(2020) and all documentation executed and delivered in connection therewith, as amended,
restated, supplemented or otherwise modified from time to time.

              8.      “2010 Note” means that certain Promissory Note – 2010B executed by the
BSA, as borrower, and payable to the order of the Issuer in the original principal amount of
$50,000,000, which note was pledged by the Issuer to secure the repayment of the 2010 Bond, as
amended, restated, supplemented or otherwise modified from time to time.

              9.     “2012 Bond” means The County Commission of Fayette County (West
Virginia) Commercial Development Revenue Bond (Arrow WV Project), Series 2012 in an
aggregate principal amount of $175,000,000, issued by the Issuer pursuant to the 2012 Bond
Agreement, the proceeds of which were loaned to the BSA pursuant to the 2012 Note.

               10.     “2012 Bond Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2012 Bond Documents, including any Claim for obligations,
indebtedness, and liabilities of the BSA arising pursuant to any of the 2012 Bond Documents,
whether now existing or hereafter arising, whether direct, indirect, related, unrelated, fixed,
contingent, liquidated, unliquidated, joint, several, or joint and several, including the obligation
of the BSA to repay the 2012 Note, interest on the 2012 Note, and all fees, costs, expenses and
obligations of any kind or character due or recoverable under the 2012 Bond Documents.

               11.   “2012 Bond Documents” means collectively, the 2012 Bond, the 2012
Bond Agreement, the 2012 Note, the Prepetition Security Agreement (2019), the Prepetition
Security Agreement (2020) and all documentation executed and delivered in connection
therewith, as amended, restated, supplemented or otherwise modified from time to time.

               12.     “2012 Bond Agreement” means that certain Bond Purchase and Loan
Agreement dated as of March 9, 2012 between the Issuer, JPMorgan, the BSA and Arrow WV,
Inc., as amended, restated, supplemented or otherwise modified from time to time.

              13.     “2012 Note” means that certain Promissory Note – 2012 executed by the
BSA, as borrower, and payable to the order of the Issuer in the original principal amount of
$175,000,000, which note was pledged by the Issuer to secure the repayment of the 2012 Bond,
as amended, restated, supplemented or otherwise modified from time to time.


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              14.     “2019 RCF Agreement” means that certain Credit Agreement dated as of
March 21, 2019, pursuant to which JPMorgan, as lender, agreed to make revolving loans to the
BSA and issue letters of credit on behalf of the BSA in an aggregate amount of up to
$71,500,000, the maturity date of which was extended pursuant to that certain Consent to
Extension of Maturity Date dated as of January 16, 2020.

               15.     “2019 RCF Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2019 RCF Documents, including any Claim for obligations,
indebtedness, and liabilities of the BSA arising pursuant to any of the 2019 RCF Documents,
whether now existing or hereafter arising, whether direct, indirect, related, unrelated, fixed,
contingent, liquidated, unliquidated, joint, several, or joint and several, including the obligation
of the BSA to pay principal and interest, and all fees, costs, expenses and other obligations of
any kind or character due or recoverable under the 2019 RCF Documents.

               16.    “2019 RCF Documents” means, collectively, the 2019 RCF Agreement,
the Prepetition Security Agreement (2019), the Prepetition Security Agreement (2020) and all
documentation executed and delivered in connection therewith, as amended, restated,
supplemented or otherwise modified from time to time.

                17.     “Abuse” means sexual conduct or misconduct, sexual abuse or
molestation, sexual exploitation, indecent assault and/or battery, rape, pedophilia, ephebophilia,
sexually related psychological or emotional harm, humiliation, anguish, shock, sickness, disease,
disability, dysfunction, or intimidation, any other sexual misconduct or injury, contacts or
interactions of a sexual nature, including the use of photography, video, or digital media, or other
physical abuse or bullying without regard to whether such physical abuse or bullying is of a
sexual nature, between a child and an adult, between a child and another child, or between a non-
consenting adult and another adult, in each instance without regard to whether such activity
involved explicit force, whether such activity involved genital or other physical contact, and
whether there is or was any associated physical, psychological, or emotional harm to the child or
non-consenting adult.

                 18.     “Abuse Claim” means a liquidated or unliquidated Claim against any
Protected Party that is attributable to, arises from, is based upon, relates to, or results from, in
whole or in part, directly, indirectly, or derivatively, Abuse that occurred prior to the Petition
Date, including any such Claim that seeks monetary damages or other relief, under any theory of
law or equity whatsoever, including vicarious liability, respondeat superior, conspiracy, fraud,
including fraud in the inducement, any negligence-based or employment-based theory, including
negligent hiring, supervision, retention or misrepresentation, any other theory based on
misrepresentation, concealment, or unfair practice, public or private nuisance, or any other
theory, including any theory based on public policy or any act or failure to act by any Protected
Party or any other Person for whom any Protected Party is alleged to be responsible.
Notwithstanding the foregoing, with respect to Contributing Chartered Organizations, the term
“Abuse Claim” shall be limited to any Claim that is attributable to, arises from, is based upon,
relates to, or results from, Abuse that occurred prior to the Petition Date and exists solely by
virtue of the Contributing Chartered Organizations’ affiliation with the Debtors. “Abuse Claim”
includes any Future Abuse Claim and any Indirect Abuse Claim, and any Claim that is
attributable to, arises from, is based upon, relates to, or results from Abuse that, as of the Petition


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Date, is barred by any applicable statute of limitations. Neither this definition nor the use of this
definition in the Plan Documents or any filing in the Chapter 11 Cases shall constitute a waiver
of any defense that would otherwise be available under applicable law to the Debtors, the
Reorganized Debtors, any Protected Party, any Local Council, the Victims Compensation Trust,
or any other Person.

               19.   “Abuse Claimants Committee” means any official committee of holders of
Abuse Claims appointed by the United States Trustee in the Chapter 11 Cases under section
1102(a) of the Bankruptcy Code.

                20.    “Abuse Claims Bar Date” means, as to an Abuse Claim, the deadline for
filing a Proof of Claim as to such Claim, as established by the Bar Date Order.

               21.     “Administrative Expense Claim” means any right to payment from the
Debtors that constitutes a cost or expense of administration incurred during the Chapter 11 Cases
of the kind specified under 503(b) of the Bankruptcy Code and entitled to priority under sections
507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary
costs and expenses incurred during the period from the Petition Date to and including the
Effective Date of preserving the Estates and continuing operations of the Debtors; (b)
Professional Fee Claims; and (c) Quarterly Fees.

               22.     “Administrative Expense Claims Bar Date” means the deadline for filing
requests for payment of Administrative Expense Claims, which: (a) with respect to General
Administrative Expense Claims shall be thirty (30) days after the Effective Date; and (b) with
respect to Professional Fee Claims, shall be forty-five (45) days after the Effective Date.

             23.   “Affiliate” has the meaning ascribed to such term in section 101(2) of the
Bankruptcy Code. “Affiliated” shall have a correlative meaning.

               24.     “Allowed” means:

                       a.      with respect to any Claim that is asserted to constitute an
                               Administrative Expense Claim: (i) a Claim that represents an
                               actual and necessary expense of preserving the Estates or operating
                               the organization of the Debtors, to the extent such Claim is
                               determined by the Debtors to constitute an Administrative
                               Expense; (ii) other than with respect to a Professional Fee Claim, a
                               Claim that is Disputed by the Debtors, which Claim is allowed in
                               whole or in part by a Final Order of the Bankruptcy Court to the
                               extent that such allowed portion is determined by a Final Order to
                               constitute a cost or expense of administration under sections
                               503(b) and 507(a)(1) of the Bankruptcy Code; or (iii) a
                               Professional Fee Claim, to the extent allowed by a Final Order of
                               the Bankruptcy Court.

                       b.      with respect to any 2010 Credit Facility Claim, 2019 RCF Claim,
                               2010 Bond Claim, or 2012 Bond Claim, any such Claim that is
                               expressly allowed as provided under Article III.


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                      c.     with respect to any Priority Tax Claim, Other Priority Claim, Other
                             Secured Claim, or General Unsecured Claim, or any portion of any
                             of the foregoing, a Claim that is: (i) not listed in the Schedules as
                             disputed, contingent or unliquidated and with respect to which no
                             contrary or superseding Proof of Claim has been filed, and that has
                             not been paid pursuant to an order of this Court prior to the
                             Effective Date; (ii) evidenced by a Proof of Claim filed on or
                             before the applicable Bar Date and is not listed in the Schedules as
                             disputed, contingent or unliquidated, and as to which no objection
                             has been filed on or before the Claims Objection Deadline; (iii) not
                             the subject of an objection to allowance that (A) was filed on or
                             before the Claims Objection Deadline and (B) has not been settled,
                             waived, withdrawn or denied pursuant to a Final Order; or (iv) is
                             expressly allowed (x) pursuant to a Final Order, (y) pursuant to an
                             agreement between the holder of such Claim and the Debtors or
                             the Reorganized Debtors, as applicable, or (z) pursuant to the terms
                             of the Plan. For the avoidance of doubt, a Claim evidenced by a
                             Proof of Claim filed after the applicable Bar Date shall not be
                             Allowed for any purposes whatsoever absent entry of a Final Order
                             expressly allowing such late-filed Claim.

                      d.     with respect to any Abuse Claim or any Interest, the term
                             “Allowed” shall not apply.

                25.     “Avoidance Actions” means any and all actual or potential avoidance,
recovery, subordination or other Claims or Causes of Action, or remedies that may be brought by
or on behalf of the Debtors or their Estates or other authorized parties in interest under the
Bankruptcy Code or applicable non-bankruptcy law, including Claims, Causes of Action or
remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the Bankruptcy
Code, or under similar or related local, state, federal, or foreign statutes or common law,
including preference and fraudulent transfer and conveyance laws, in each case whether or not
litigation to prosecute such claim(s) or cause(s) of action was commenced prior to the Effective
Date.

                26.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101–1532, as in effect on the Petition Date, together with all amendments, modifications, and
replacements of the foregoing that are made retroactive to the Petition Date, as the same may
exist on any relevant date to the extent applicable to the Chapter 11 Cases.

                27.   “Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware or such other court having jurisdiction over the Chapter 11 Cases.

             28.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under 28 U.S.C. § 2075, as applicable to the
Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy Court, each as
amended from time to time.



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               29.    “Bar Date” means, as to a particular Claim, the deadline for filing a Proof
of Claim as to such Claim, as established by the Bar Date Order.

               30.    “Bar Date Order” means one or more Final Orders of the Bankruptcy
Court establishing deadlines for the filing of Proofs of Claim and other claims filing procedures
and requirements.

               31.    “BSA” means the Boy Scouts of America, a congressionally chartered
non-profit corporation under title 36 of the United States Code.

                32.    “BSA Trust Contributions” means: (a) the Debtors’ assets that do not
constitute Identified Property (or the value of such assets) as of the Effective Date, including
assets identified by the Debtors as Identified Property that are later determined by a Final Order
to be available to satisfy creditor claims; plus (b) (i) the Insurance Rights and (ii) any other
amounts, as determined by the Debtors in their sole and absolute discretion; less (c) (i) the
aggregate amount of all Allowed Administrative Expenses, Allowed Priority Tax Claims, and
Allowed Other Priority Claims, (ii) the GUC Plan Distribution, and (iii) the Working Capital,
and (iv) the value of any valid, perfected and enforceable security interest and lien of any holder
of an Allowed Secured Claim in any collateral that does not constitute Identified Property,
including any collateral that is identified by the Debtors as Identified Property that is later
determined by a Final Order to be available to satisfy creditor claims.

               33.    “Business Day” means any day, other than a Saturday, Sunday or “legal
holiday” as such term is defined in Bankruptcy Rule 9006(a).

                34.     “Cause of Action” means any action, class action, Claim, cross-claim,
third-party claim, cause of action, controversy, demand, right, Lien, indemnity, contribution,
guaranty, suit, obligation, liability, debt, damage, judgment, account, defense, remedy, offset,
power, privilege, license, and franchise of any kind or character whatsoever, known or unknown,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect, choate or
inchoate, secured or unsecured, assertable directly or derivatively (including under alter ego
theories), whether arising before, on, or after the Petition Date, in contract or in tort, at law or in
equity, or pursuant to any other theory of law. Causes of Action also include: (a) all rights of
setoff, counterclaim, or recoupment and any Claim for breach of contract or for breaches of
duties imposed by law or in equity; (b) the right to object to or otherwise contest Claims or
Interests; (c) such claims and defenses as fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code; and (d) any claim under any local,
state, federal or foreign law, including any fraudulent transfer or similar claim.

             35.     “Channeling Injunction” means the permanent injunction provided for in
Section X.D with respect to Abuse Claims to be issued pursuant to the Confirmation Order.

              36.    “Chapter 11 Cases” means the cases filed by the Debtors under chapter 11
of the Bankruptcy Code.




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              37.    “Chartered Organization Trust Contributions” means, for each
Contributing Chartered Organization, the Cash and other assets being contributed to the Victims
Compensation Trust, as specified on Exhibit J hereto.

                38.   “Chartered Organizations” means those certain civic, faith-based, or
educational organizations or groups of individual citizens authorized by the Debtors to operate
scouting units.

             39.      “Claim” means any “claim,” as defined in section 101(5) of the
Bankruptcy Code.

              40.     “Claims Objection Deadline” means the deadline for filing an objection to
any Claim, including any Claim for damages arising from or relating to the Debtors’ rejection of
any Executory Contract or Unexpired Lease, which deadline shall be 180 days after the Effective
Date, subject to any extensions approved by an order of the Bankruptcy Court; provided,
however, that the Claims Objection Deadline shall not apply to any Claim filed after the
applicable Bar Date; provided further, however, that the Claims Objection Deadline shall not
apply to Abuse Claims, which shall be administered on a timeline determined by the Victims
Compensation Trustee, in consultation with the Future Claimants’ Representative and the Trust
Advisory Committee, subject to Bankruptcy Court approval.

                41.     “Class” means each category of holders of Claims or Interests as set forth
in Article III pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

               42.    “Compensation and Benefits Programs” means all employment
agreements and policies, and all employment, compensation, and benefit plans, policies, savings
plans, retirement plans, deferred compensation plans, supplemental executive retirement plans,
healthcare plans, disability plans, severance benefit agreements, plans or policies, incentive
plans, life and accidental death and dismemberment insurance plans, and programs of the
Debtors, and all amendments and modifications thereto, applicable to the Debtors’ employees,
former employees, retirees, and non-employee directors, and the employees, retirees and non-
employee directors of the Local Councils and the Related Non-Debtor Entities.

             43.     “Confirmation” means the entry of the Confirmation Order by the
Bankruptcy Court on the docket of the Chapter 11 Cases.

              44.    “Confirmation Date” means the date on which the Bankruptcy Court
enters the Confirmation Order on the docket of the Chapter 11 Cases within the meaning of
Bankruptcy Rules 5003 and 9021.

              45.   “Confirmation Hearing” means the hearing(s) held by the Bankruptcy
Court under section 1128 of the Bankruptcy Code at which the Debtors seek entry of the
Confirmation Order.

              46.     “Confirmation Order” means the order of the Bankruptcy Court
confirming the Plan pursuant to section 1129 of the Bankruptcy Code.




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               47.    “Contributing Chartered          Organizations”     means     the   Chartered
Organizations listed on Exhibit J hereto.

                48.    “Coverage Actions” means any and all pending coverage litigation
between the BSA and any Insurer as of the Petition Date, including: (a) Boy Scouts of America,
et al. v. Insurance Company of North America et al., Case No. DC-18-11896 pending in the
192nd Judicial District Court of Dallas County, Texas; (b) Boy Scouts of America, et al. v.
Hartford Accident and Indemnity Co., et al., Case No. 3:19-CV-1318 pending in the United
States District Court for the Northern District of Texas, Dallas Division; and (c) National Surety
Corp. v. Boy Scouts of America, et al., Case No. 2017-CH-14975 pending in the Circuit Court of
Cook County, Illinois, Chancery Division.

               49.    “Cure Amount” means all amounts, including an amount of $0.00,
required to cure any monetary default under any Executory Contract or Unexpired Lease (or such
lesser amount as may be agreed upon by the non-Debtor party to an Executory Contract or
Unexpired Lease) that is to be assumed by the Debtors pursuant to sections 365 or 1123 of the
Bankruptcy Code.

              50.     “D&O Liability Insurance Policies” means all insurance policies issued at
any time to any of the Debtors for directors’, managers’, and officers’ liability in effect as of the
Effective Date (including any “tail policy” or run-off coverage and including any such policy
that provides protection to any Local Council’s directors, managers or officers) and all
agreements, documents, or instruments relating thereto.

                 51.   “Disallowed” means, as to any Administrative Expense Claim, Priority
Tax Claim, Other Priority Claim, Other Secured Claim, or General Unsecured Claim, any such
Claim (or portion thereof) that has been disallowed, denied, dismissed, or overruled pursuant to
the Plan or a Final Order of the Bankruptcy Court or any other court of competent jurisdiction.
“Disallowance” and “Disallowing” shall have correlative meanings. With respect to any 2010
Credit Facility Claim, 2019 RCF Claim, 2010 Bond Claim, 2012 Bond Claim, Abuse Claim or
Interest, the term “Disallowed” shall not apply.

               52.    “Disclosure Statement” means the disclosure statement for the Plan,
including all exhibits and schedules thereto, as the same may be amended, supplemented or
otherwise modified from time to time, as approved by the Bankruptcy Court pursuant to
section 1125 of the Bankruptcy Code.

              53.    “Disclosure Statement Order” means one or more orders entered by the
Bankruptcy Court (a) finding that the Disclosure Statement (including any amendment,
supplement, or modification thereto) contains adequate information pursuant to section 1125 of
the Bankruptcy Code; and (b) authorizing solicitation of the Plan.

                54.     “Disputed” means, as to any Administrative Expense Claim, Priority Tax
Claim, Other Priority Claim, Other Secured Claim, or General Unsecured Claim, any such Claim
(or portion thereof) (a) that is neither an Allowed Claim nor a Disallowed Claim, (b) that is listed
on the Schedules as “disputed,” or (c) for which a Proof of Claim has been timely filed or a
written request for payment has been made to the extent that any party in interest has interposed



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a timely objection to such Claim, which objection has not been withdrawn or determined
pursuant to a Final Order.

                55.    “Distribution Date” means, except as set forth herein, the date or dates
determined by the Debtors or the Reorganized Debtors, on or after the Effective Date, with the
first such date occurring on or as soon as reasonably practicable after the Effective Date, upon
which the Reorganized Debtors shall make Plan Distributions to holders of Allowed Claims.
The Distribution Date shall not pertain to Trust Distributions made to holders of Abuse Claims,
which shall be governed by the Trust Documents in all respects.

               56.    “Distribution Record Date” means the record date for purposes of making
Plan Distributions on account of Allowed Claims, which date shall be the Effective Date. The
Distribution Record Date shall not pertain to Abuse Claims, which shall be governed by the
Trust Documents in all respects.

               57.     “District Court” means the United States District Court for the District of
Delaware.

                58.    “Effective Date” means, and shall occur on, the Business Day on which
each of the conditions precedent to the effectiveness of the Plan set forth in Section IX.B has
been satisfied or waived in accordance with the terms thereof.

               59.     “Encumbrance” means, with respect to any property (whether real or
personal, tangible or intangible), any mortgage, Lien, pledge, charge, security interest,
assignment, or encumbrance of any kind or nature in respect of such property, including any
conditional sale or other title retention agreement, any security agreement, and the filing of, or
agreement to give, any financing statement under the Uniform Commercial Code or comparable
law of any jurisdiction, to secure payment of a debt or performance of an obligation.

               60.     “Entity” means an entity as defined in section 101(15) of the Bankruptcy
Code.

               61.    “Estate” means, as to each Debtor, the estate created for such Debtor in its
Chapter 11 Case under sections 301 and 541 of the Bankruptcy Code upon the commencement
of the applicable Debtor’s Chapter 11 Case.

                62.    “Exit Facility” means that certain credit facility or facilities, the relevant
terms of which shall be included in a summary filed with the Plan Supplement and thereafter
attached to the Plan as Exhibit Q.

               63.     “Exculpated Parties” means, collectively, the following Persons, in each
case in its or their capacity as such: (a) the Debtors and the Reorganized Debtors; (b) such
Released Parties that are fiduciaries of the Estates; and (c) with respect to the foregoing Persons
in clauses (a) and (b), such Persons’ and its and their current and former Affiliates, and such
Persons’ and its and their current and former Affiliates’ current and former subsidiaries, officers,
directors, managers, principals, trustees, members, partners, employees, agents, advisors,
advisory board members, financial advisors, partners, attorneys, accountants, investment
bankers, consultants, representatives and other professionals.


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               64.     “Executory Contract” means any executory contract to which one or more
of the Debtors is a party that is subject to assumption or rejection under sections 365 or 1123 of
the Bankruptcy Code.

               65.      “Final Order” means an order or judgment of the Bankruptcy Court (or
other court of competent jurisdiction) that has not been reversed, vacated or stayed and as to
which (a) the time to appeal, petition for certiorari or move for a new trial, reargument or
rehearing has expired and as to which no appeal, petition for certiorari or other proceedings for a
new trial, reargument or rehearing shall then be pending, or (b) if an appeal, writ of certiorari,
new trial, reargument or rehearing thereof has been sought, such order or judgment of the
Bankruptcy Court (or other court of competent jurisdiction) shall have been affirmed by the
highest court to which such order was appealed, or certiorari shall have been denied or a new
trial, reargument or rehearing shall have been denied or resulted in no modification of such
order, and the time to take any further appeal, petition for certiorari or move for a new trial,
reargument or rehearing shall have expired; provided, however, that the possibility that a motion
pursuant to section 502(j) or 1144 of the Bankruptcy Code or under Rule 59 or Rule 60 of the
Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be
filed with respect to such order shall not cause such order to not be a Final Order.

                66.     “Future Abuse Claim” means any Abuse Claim against any Protected
Party that is attributable to, arises from, is based upon, relates to, or results from, in whole or in
part, directly, indirectly, or derivatively, Abuse that occurred prior to the Petition Date but
which, as of the date immediately preceding the Petition Date, was held by a Person who, as of
such date, (a) had not attained eighteen (18) years of age, (b) suffered from “repressed memory”
such that the holder of the Abuse Claim was not aware that he or she held an Abuse Claim as of
such date, or (c) had not discovered the injury or the connection between the injury and the
Abuse and who could not in the exercise of reasonable care have discovered the injury or
connection between the injury and the Abuse. Notwithstanding the foregoing, with respect to
Contributing Chartered Organizations, the term “Future Abuse Claim” shall be limited to any
Abuse Claim that exists solely by virtue of the Contributing Chartered Organizations’ affiliation
with the Debtors.

               67.     “Future Claimants’ Representative” means James L. Patton, Jr., the legal
representative to be appointed by the Bankruptcy Court for holders of Future Abuse Claims, any
successor legal representative appointed by the Bankruptcy Court, or, on and after the Effective
Date, any successor legal representative appointed in accordance with the Trust Agreement.

             68.     “General Administrative Expense Claim” means an Administrative
Expense Claim other than a Professional Fee Claim or a Claim for Quarterly Fees.

             69.     “General Unsecured Claim” means any Claim against the Debtors that is
not an Administrative Expense Claim, a Priority Tax Claim, an Other Priority Claim, an Other
Secured Claim, a 2010 Credit Facility Claim, a 2019 RCF Claim, a 2010 Bond Claim, a 2012
Bond Claim, or an Abuse Claim.

               70.   “Governmental Unit” means a governmental unit as defined in section
101(27) of the Bankruptcy Code.


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               71.    “GUC Plan Distribution” means [●].

               72.     “Identified Property” means the assets of the Estates identified on
Exhibit E, as such exhibit may be modified or supplemented from time to time, which assets are
unavailable to satisfy creditor claims, including, among other reasons, because such assets are
subject to legally enforceable restrictions requiring the use or disposition of such assets for a
particular purpose and precluding the use of such assets for the Debtors’ general corporate
purposes; because the Debtors hold legal title to such assets in a fiduciary capacity for the sole
benefit of donors, their intended beneficiaries, and/or members of the public who have entrusted
the Debtors with property to carry out the Debtors’ mission, as authorized and approved by
Congress; because such assets are essential to the BSA’s capability to carry out its mission in a
manner consistent with its charter and bylaws; or otherwise.

             73.    “Impaired” means “impaired” within the meaning of section 1124 of the
Bankruptcy Code. “Impair” and “impairment” shall have correlative meanings.

               74.     “Indemnification Obligations” means each of the Debtors’ indemnification
obligations in place as of the Effective Date, whether in the bylaws, limited liability company
agreements, or other organizational or formation documents, board resolutions, management or
indemnification agreements, employment or other contracts, or otherwise, for the past and
present directors, officers, employees, attorneys, accountants, investment bankers, and other
professionals and agents who provided services to the Debtors before, on, or after the Petition
Date.

                 75.    “Indirect Abuse Claim” means any Claim for contribution, indemnity,
reimbursement, or subrogation, whether contractual or implied by law (as those terms are
defined by the applicable non-bankruptcy law of the relevant jurisdiction) that is attributable to,
arises from, is based upon, relates to, or results from, an Abuse Claim, and any other derivative
or indirect Abuse Claim of any kind whatsoever, whether in the nature of or sounding in
contract, tort, warranty or any other theory of law or equity whatsoever.

                76.    “Insurance Action” means any claim, cause of action, or right of the
Debtors or any of them, under the laws of any jurisdiction, against any Insurer, arising from or
related to: (a) the refusal of any Insurer to compromise and settle any Abuse Claim under or
pursuant to any Insurance Policy; (b) the interpretation or enforcement of the terms of any
Insurance Policy with respect to any Abuse Claim; (c) any conduct of any Insurer constituting
“bad faith” or other wrongful conduct under applicable law; or (d) any Coverage Actions.

               77.     “Insurance Policy” means any insurance policy or other agreement related
to the provision of insurance in effect at any time before the Effective Date naming any of the
Debtors as an insured or otherwise affording the Debtors rights, benefits, indemnity or insurance
coverage upon which any claim has been or may be made with respect to any Abuse Claim.
Notwithstanding the foregoing, “Insurance Policy” shall not include any D&O Liability
Insurance Policies.




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              78.    “Insurance Proceeds” means any proceeds available or capable of being
recovered under any Insurance Policy with respect to Abuse Claims by Protected Parties that
have Insurance Rights to any Insurance Policy.

               79.     “Insurance Rights” means any and all rights, titles, privileges, interests,
claims, demands, or entitlements of Protected Parties that are the subject of the Insurance Rights
Transfer to any Insurance Proceeds, payments, benefits, Causes of Action, choses in action,
defenses or indemnities arising under or attributable to any and all Insurance Policies, now
existing or hereafter arising, accrued or unaccrued, liquidated or unliquidated, matured or
unmatured, disputed or undisputed, fixed or contingent, with respect to Abuse Claims. Insurance
Rights shall include Insurance Actions.

              80.     “Insurance Rights Transfer” means the transfer, assignment, and vesting
of Insurance Rights described in Section IV.F.

               81.     “Insured Non-Abuse Claim” means any Claim or portion of a Claim that is
not an Abuse Claim and is or is asserted to be insured under any insurance policy (including any
Insurance Policy) that benefits the Debtors.

              82.     “Insurer” means any insurance company, other Entity, or any such
company’s or Entity’s successor or assign, that has issued, or that has any actual, potential,
demonstrated, or alleged liabilities, duties, or obligations under or with respect to, any Insurance
Policy.

               83.     “Insurer Coverage Defense” means all rights and defenses at law or in
equity that any Insurer may have under any Insurance Policy or applicable law to a claim seeking
insurance coverage.

             84.       “Interest” means any “equity security” as defined in section 101(16) of the
Bankruptcy Code.

               85.    “Issuer” means The County Commission of Fayette County (West
Virginia) in its capacity as the issuer under the 2010 Bond Agreement and the 2012 Bond
Agreement.

               86.     “JPMorgan” means JPMorgan Chase Bank, National Association.

               87.     “Lien” means any “lien” as defined in section 101(37) of the Bankruptcy
Code.

               88.   “Local Council Committee” means the Ad Hoc Committee of Local
Councils of the Boy Scouts of America.

              89.    “Local Councils” means, collectively, the local councils of the BSA listed
on Exhibit G hereto.

               90.     “Local Council Trust Contributions” means the contributions specified on
Exhibit I hereto.


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             91.    “Official Committees” means, collectively, the Abuse Claimants
Committee and the UCC.

                92.      “Other Priority Claim” means any Claim against the Debtors that is
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code, other than
an Administrative Expense Claim or a Priority Tax Claim.

              93.    “Other Secured Claim” means any Secured Claim against the Debtors
other than any 2010 Credit Facility Claim, 2019 RCF Claim, 2010 Bond Claim, or 2012 Bond
Claim.

               94.     “Person” has the meaning set forth in section 101(41) of the Bankruptcy
Code.

               95.     “Petition Date” means February 18, 2020.

               96.    “Plan” means this plan of reorganization under chapter 11 of the
Bankruptcy Code, including the Plan Supplement and any other supplements and any schedules,
exhibits or annexes hereto, either in its present form or as it may be altered, amended, modified,
or supplemented from time to time in accordance with the Bankruptcy Code and the Bankruptcy
Rules.

               97.     “Plan Distribution” means a payment or distribution to holders of Allowed
Claims, holders of Interests, or other eligible Persons under the Plan. Plan Distributions shall not
include distributions to holders of Abuse Claims, which the Victims Compensation Trustee shall
make in accordance with the Trust Documents.

               98.    “Plan Documents” means, collectively, (a) the Plan; (b) the Disclosure
Statement; (c) the Disclosure Statement Order; (d) each of the documents comprising the Plan
Supplement; (e) the Confirmation Order; (f) the Trust Agreement; (g) the Trust Distribution
Procedures; and (h) any other document necessary to implement the Plan.

                99.     “Plan Supplement” means the compilation of documents and forms of
documents, agreements, schedules, exhibits, and annexes to the Plan, which the Debtors shall file
no later than seven (7) days before the deadline established by the Bankruptcy Court for filing
objections to Confirmation or such later date as may be approved by the Bankruptcy Court on
notice to parties in interest, including the following: (a) the Trust Agreement, (b) the identity of
the initial Victims Compensation Trustee, (c) the initial members of the Trust Advisory
Committee, (d) the Rejected Contracts Schedule, (e) the forms of the Restated 2010 Bond
Documents, (f) the forms of the Restated 2012 Bond Documents, (g) the forms of the Restated
2010 Credit Facility Documents, (h) the forms of the Restated 2019 RCF Documents, (i) a
summary of the relevant terms of the Exit Facility and (j) changes to the Reorganized Debtors’
directors and officers, if any.

            100. “Prepetition Security Agreement (2019)” means that certain Third
Amended and Restated Security Agreement dated as of March 21, 2019, by and among the BSA
and Arrow WV, Inc., as debtors, JPMorgan, in its capacity as collateral agent, JPMorgan, in its



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capacity as the lender under the 2010 Credit Agreement and the 2019 RCF Agreement, and as
holder under the 2010 Bond Agreement and the 2012 Bond Agreement.

              101. “Prepetition Security Agreement (2020)” means that certain Consent and
Security Agreement dated as of February 3, 2020, by and among Delaware BSA, LLC, the BSA,
JPMorgan, as collateral agent, and JPMorgan, in its capacity as the lender under the 2010 Credit
Agreement and the 2019 RCF Agreement, and as holder under the 2010 Bond Agreement and
the 2012 Bond Agreement.

                102. “Priority Tax Claim” means any Claim of a Governmental Unit against the
Debtors that is entitled to priority in payment under section 507(a)(8) of the Bankruptcy Code.

               103. “Privileged Information” means any privileged information that relates, in
whole or in part, to any Abuse Claim, including (a) the Debtors’ books and records transferred to
the Victims Compensation Trust in accordance with Section IV.P, (b) any privileged information
containing a factual or legal analysis or review of any Abuse Claim, (c) any privileged
information evaluating the reasonableness, effectiveness, or confirmability of the Plan or any
other plan of reorganization or plan of liquidation filed or that could be filed in the Chapter 11
Cases, (d) any privileged information exchanged by the Debtors or their professionals, on the one
hand, and the Non-Debtor Related Entities, Local Councils, the Local Council Committee, any
Official Committee, or their respective professionals, on the other hand, related to the Plan, the
Plan Documents, or the Abuse Claims, and (e) information shared pursuant to that certain Joint
Defense, Common Interest, and Confidentiality Agreement among the BSA, the Local Council
Committee, and each Local Council that executed a joinder to said agreement that was
acknowledged in writing by the BSA and the Local Council Committee, and (f) any privileged
information containing a factual or legal analysis of the Debtors’ potential exposure in
connection with any Abuse Claim or any litigation related thereto.

                104. “Pro Rata” means the proportion that an Allowed Claim in a particular
Class bears to the aggregate amount of Allowed Claims in that Class.

               105. “Professional” means any Person retained by the Debtors or a statutory
committee, if any, pursuant to a Final Order of the Bankruptcy Court entered under sections 327,
328, 363 and/or 1103 of the Bankruptcy Code.

               106. “Professional Fee Claim” means any Claim of a Professional for
allowance and award by the Bankruptcy Court of compensation for services rendered and/or
reimbursement of costs or expenses incurred in the Chapter 11 Cases for the period from the
Petition Date to and including the Effective Date under sections 328, 330, 331 and/or 503(b) of
the Bankruptcy Code.

                107. “Protected Parties” means, collectively, the following Persons, in each
case in its and their capacity as such: (a) the Debtors and the Reorganized Debtors, as applicable;
(b) the Local Councils; (c) the Non-Debtor Related Entities; (d) the Contributing Chartered
Organizations; and (e) with respect to each of the foregoing Persons in clauses (a) through (d),
such Persons’ predecessors, successors, assigns, subsidiaries, Affiliates, current and former
officers, directors, principals, equity holders, trustees, members, partners, managers, officials,



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advisory board members, employees, agents, volunteers, attorneys, financial advisors,
accountants, investment bankers, consultants, representatives, and other professionals, and such
Persons’ respective heirs, executors, estates, and nominees, as applicable; provided, however,
that any perpetrator of Abuse that forms the basis for an Abuse Claim that is an individual is not
and shall not be a Protected Party. Notwithstanding the foregoing, the Contributing Chartered
Organizations shall be “Protected Parties” only with respect to Abuse Claims that exist solely by
virtue of the Contributing Chartered Organizations’ affiliation with the Debtors.

               108. “Quarterly Fees” means all fees due and payable pursuant to section
1930(a)(6) of title 28 of the United States Code.

                 109. “Reinstatement” means (a) leaving unaltered the legal, equitable and
contractual rights to which a Claim or Interest entitles the holder of such Claim or Interest or
(b) notwithstanding any contractual provision or applicable law that entitles the holder of such
Claim or Interest to demand or receive accelerated payment of such Claim or Interest after the
occurrence of a default, (i) curing any such default that occurred before or after the Petition Date,
other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code;
(ii) reinstating the maturity of such Claim or Interest as such maturity existed before such
default; (iii) compensating the holder of such Claim or Interest for any damages incurred as a
result of any reasonable reliance by such holder on such contractual provision or such applicable
law; (iv) if such Claim or Interest arises from any failure to perform a nonmonetary obligation,
compensating the holder of such Claim or Interest (other than the Debtors or an “insider” of the
Debtors within the meaning of section 101(31) of the Bankruptcy Code) for any actual pecuniary
loss incurred by such holder as the result of such failure; and (v) not otherwise altering the legal,
equitable or contractual rights to which such Claim or Interest entitles the holder thereof.
“Reinstate” and “Reinstated” shall have correlative meanings.

               110. “Rejected Contracts Schedule” means the schedule of Executory Contracts
and Unexpired Leases to be rejected by the Debtors under the Plan, which schedule shall be
included in the Plan Supplement and thereafter attached to the Plan as Exhibit K, as the same
may be amended, modified, or supplemented from time to time.

               111. “Rejection Damages Claim” means a Claim for damages alleged to arise
from the rejection of an Executory Contract or Unexpired Lease pursuant to section 365 of the
Bankruptcy Code.

               112. “Related Non-Debtor Entities” means the Entities listed on Exhibit H
hereto, including non-Debtor Affiliates of the Debtors that are directly or indirectly wholly
owned by, or subject to the control of, the BSA. Related Non-Debtor Entities do not include
Local Councils.

                113. “Released Parties” means, collectively, the following Persons, in each case
in its or their capacity as such: (a) the Debtors and the Reorganized Debtors; (b) the Future
Claimants’ Representative; (c) the Local Councils; (d) the Local Council Committee; (e) the
Related Non-Debtor Entities; (f) the Contributing Chartered Organizations; and (g) with respect
to the Persons in clauses (a) through (f), such Persons’ predecessors, successors, assigns,
subsidiaries, Affiliates, current and former officers and directors, principals, equity holders,


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trustees, members, partners, managers, officials, employees, agents, advisory board members,
volunteers, attorneys, accountants, financial advisors, investment bankers, consultants,
representatives, and other professionals, and such Persons’ respective heirs, executors, estates,
and nominees; provided, however, that any perpetrator of Abuse that forms the basis for an
Abuse Claim that is an individual is not and shall not be a Released Party. Notwithstanding the
foregoing, the Contributing Chartered Organizations shall be “Released Parties” only with
respect to Abuse Claims that exist solely by virtue of the Contributing Chartered Organizations’
affiliation with the Debtors.

                114. “Reorganized Debtors” means the Debtors, as reorganized pursuant to and
under the Plan, or any successor thereto by merger, consolidation, conversion or otherwise, on or
after the Effective Date, after giving effect to the transactions implementing the Plan.

               115. “Restated 2010 Bond Documents” means those certain restated bond
documents, including a restated revenue bond, bond purchase agreement, promissory note,
security agreement, and all documentation executed and delivered in connection therewith, the
then-current forms of which shall be filed with the Plan Supplement and thereafter attached to
the Plan as Exhibit L.

               116. “Restated 2012 Bond Documents” means those certain restated bond
documents, including a restated revenue bond, bond purchase agreement, promissory note,
security agreement, and all documentation executed and delivered in connection therewith, the
then-current forms of which shall be filed with the Plan Supplement and thereafter attached to
the Plan as Exhibit M.

               117. “Restated 2010 Credit Facility Documents” means those certain restated
credit facility documents, the then-current forms of which shall be filed with the Plan
Supplement and thereafter attached to the Plan as Exhibit N.

               118. “Restated 2019 RCF Documents” means those certain restated revolving
credit facility documents, the then-current forms of which shall be filed with the Plan
Supplement and thereafter attached to the Plan as Exhibit O.

                119. “Schedules” means, with respect to each Debtor, the schedules of assets
and liabilities and the statement of financial affairs filed by such Debtor with the Bankruptcy
Court pursuant to sections 521 and 1106(a)(2) of the Bankruptcy Code and Bankruptcy Rule
1007, as such schedules and statements may be amended or supplemented from time to time
prior to the Effective Date.

                 120. “Secured” means, with respect to any Claim, a Claim to the extent (a)
secured by a Lien on property of a Debtor’s Estate (i) as set forth in the Plan, (ii) as agreed to by
the holder of such Claim and the Debtors, or (iii) as determined by a Final Order in accordance
with section 506(a) of the Bankruptcy Code or (b) subject to any setoff right of the holder of
such Claim under section 553 of the Bankruptcy Code, but, with respect to both of the foregoing
clauses (a) and (b), only to the extent of the value of the interest of such holder in the Estate’s
interest in the property securing such Claim or the amount subject to setoff, as applicable.




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                121. “Trust Advisory Committee” means the Victims Compensation Trust
advisory committee established pursuant to the terms of the Plan and the Trust Agreement and
identified in the Trust Agreement. The initial members of the Trust Advisory Committee shall
be identified in the Plan Supplement and thereafter attached to the Plan as Exhibit D.

               122. “Trust Agreement” means the agreement between the Debtors and the
Victims Compensation Trustee governing the Victims Compensation Trust, dated as of the
Effective Date, to be filed with the Plan Supplement and thereafter attached to the Plan as
Exhibit A, as the same may be amended or modified from time to time.

               123. “Trust Assets” means, collectively, the BSA Trust Contributions, the
Local Council Trust Contributions, the Chartered Organization Trust Contributions, and any
applicable Insurance Proceeds recovered or received by the Victims Compensation Trust.

               124. “Trust Distribution” means any initial or periodic payment or transfer of
consideration to holders of Abuse Claims made in accordance with the Trust Documents.

              125. “Trust Distribution Procedures” means the Trust Distribution Procedures
as defined and used in the Trust Agreement and attached to the Plan as Exhibit B, as the same
may be amended or modified from time to time.

               126. “Trust Documents” means, collectively, (a) the Trust Agreement, (b) the
Trust Distribution Procedures, and (c) any other agreements, instruments and documents
governing the establishment and administration of the Victims Compensation Trust, which shall
be materially consistent with the terms of the Plan, as the same may be amended or modified
from time to time in accordance with the terms thereof.

               127. “Trust Expenses” means any and all costs, expenses, fees, taxes,
disbursements, debts, or obligations incurred for the administration of the Victims Compensation
Trust pursuant to the Trust Agreement, to be paid by the Victims Compensation Trust as
provided in the Trust Agreement.

             128. “Trust Termination Date” means the date on which the Victims
Compensation Trust is terminated as determined pursuant to the terms of the Trust Agreement.

              129. “UCC” means any official committee of holders of General Unsecured
Claims appointed by the United States Trustee in the Chapter 11 Cases under section 1102(a) of
the Bankruptcy Code.

               130. “Unexpired Lease” means a lease to which one or more of the Debtors is a
party, including any and all pre- and post-petition amendments thereto, that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

              131. “Unimpaired” means any Claim or Interest that is not Impaired, including
any Claim or Interest that is Reinstated.

                132. “United States Trustee” means the Office of the United States Trustee for
the District of Delaware.


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               133. “Victims Compensation Trust” means the trust organized under the laws
of the state of Delaware and established under Article IV and the Trust Agreement for the
purposes set forth therein, including assuming liability for all Abuse Claims, holding and
administering the Trust Assets, liquidating the Abuse Claims, and making Trust Distributions to
holders of Abuse Claims from the Trust Assets.

               134. “Victims Compensation Trustee” means the individual to be identified in
the Plan Supplement and thereafter attached to the Plan as Exhibit C, who shall act as the initial
trustee of the Victims Compensation Trust pursuant to the terms of the Trust Documents, and
any successor trustee appointed in accordance with the Trust Agreement.

               135. “Workers’ Compensation Program” means the written contracts,
agreements, agreements of indemnity, self-insured bonds, policies, programs, and plans for
workers’ compensation and workers’ compensation insurance issued to or entered into at any
time by any of the Debtors.

               136.    “Working Capital” means [●].

       B.      Interpretation; Application of Definitions and Rules of Construction.

                1.     For purposes of the Plan, unless otherwise provided herein: (1) whenever
from the context it is appropriate, each term, whether stated in the singular or the plural, will
include both the singular and the plural; (2) unless otherwise provided in the Plan, any reference
in the Plan to a contract, instrument, release, or other agreement or document being in a
particular form or on particular terms and conditions means that such document will be
substantially in such form or substantially on such terms and conditions; (3) any reference in the
Plan to an existing document, schedule or exhibit filed or to be filed means such document,
schedule or exhibit, as it may have been or may be amended, modified, or supplemented
pursuant to the Plan; (4) any reference to a Person as a holder of a Claim or Interest includes that
Person’s successors and assigns; (5) unless otherwise stated, all references in the Plan to Articles
or Sections are references to Articles or Sections of the Plan, as the same may be amended,
waived or modified from time to time in accordance with the terms hereof; (6) the words
“herein,” “hereof,” “hereto,” “hereunder” and other words of similar import refer to the Plan as a
whole and not to any particular Article, Section, or clause contained in the Plan; (7) the words
“include” and “including,” and variations thereof, shall not be deemed to be terms of limitation
and shall be deemed to be followed by the words “without limitation;” (8) subject to the
provisions of any contract, certificate of incorporation, by-law, instrument, release, or other
agreement or document entered into in connection with the Plan, the rights and obligations
arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with
the applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (9) any term
used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy
Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy
Code or the Bankruptcy Rules, as the case may be; (10) any immaterial effectuating provisions
may be interpreted by the Reorganized Debtors in such a manner that is consistent with the
overall purpose and intent of the Plan all without further notice to or action, order, or approval of
the Bankruptcy Court or any other Person; (11) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation


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of the Plan; (12) the rules of construction set forth in section 102 of the Bankruptcy Code shall
apply; and (13) any reference to a Person’s “subsidiaries” means its direct and indirect
subsidiaries.

       C.      Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to the legal tender of the United
States of America unless otherwise expressly provided.

       D.      Controlling Document.

        In the event of any conflict between the terms and provisions in the Plan (without
reference to the Plan Supplement), on the one hand, and the terms and provisions in the
Disclosure Statement, the Plan Supplement, any other instrument or document created or
executed pursuant to the Plan, or any order (other than the Confirmation Order) referenced in the
Plan (or any exhibits, schedules, appendices, supplements, or amendments to any of the
foregoing), on the other hand, the Plan (without reference to the Plan Supplement) shall govern
and control; provided, however, that in the event of a conflict between Confirmation Order, on
the one hand, and any of the other Plan Documents, on the other hand, the Confirmation Order
shall govern and control in all respects.

                                           ARTICLE II

                 ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS


       A.      Administrative Expense Claims.

               1.      Administrative Expense Claims Bar Date.

        Except as provided for herein or in any order of the Bankruptcy Court, and subject to
section 503(b)(1)(D) of the Bankruptcy Code, holders of General Administrative Expense
Claims must file and serve on the Debtors requests for the payment of such Claims not
previously Allowed by a Final Order in accordance with the procedures specified in the
Confirmation Order, on or before the Administrative Expense Claims Bar Date, or such Claims
shall be automatically Disallowed, forever barred from assertion, and unenforceable against the
Debtors or the Reorganized Debtors, the Estates, or their property without the need for any
objection by the Reorganized Debtors or further notice to, or action, order, or approval of the
Bankruptcy Court, and any such Claims shall be deemed fully satisfied, released, and discharged.

               2.      Administrative Expense Claims Generally.

        Except to the extent that a holder of an Allowed Administrative Expense Claim agrees to
less favorable treatment with respect to such Allowed Administrative Expense Claim, each
holder of an Allowed Administrative Expense Claim shall receive, on account of and in full and
complete settlement, release and discharge of, and in exchange for, such Claim, payment of Cash
in an amount equal to such Allowed Administrative Expense Claim on or as soon as reasonably
practicable after the later of: (a) the Effective Date; (b) the first Business Day after the date that


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is thirty (30) calendar days after the date such Administrative Expense Claim becomes an
Allowed Administrative Expense Claim; (c) such other date(s) as such holder and the Debtors or
the Reorganized Debtors shall have agreed; or (d) such other date ordered by the Bankruptcy
Court; provided, however, that Allowed Administrative Expense Claims that arise in the ordinary
course of the Debtors’ operations during the Chapter 11 Cases may be paid by the Debtors or the
Reorganized Debtors in the ordinary course of business and in accordance with the terms and
conditions of the particular agreements governing such obligations, course of dealing, course of
operations, or customary practice.

               3.      Professional Fee Claims.

        All Professionals or other Persons requesting the final allowance and payment of
compensation and/or reimbursement of expenses pursuant to sections 328, 330, 331 and/or
503(b) for services rendered during the period from the Petition Date to and including the
Effective Date shall file and serve final applications for allowance and payment of Professional
Fee Claims on counsel to the Debtors and the United States Trustee no later than the first
Business Day that is forty-five (45) days after the Effective Date. Objections to any Professional
Fee Claim must be filed and served on the Reorganized Debtors and the applicable Professional
within twenty-one (21) calendar days after the filing of the final fee application that relates to the
Professional Fee Claim (unless otherwise agreed by the Debtors or the Reorganized Debtors, as
applicable, and the Professional requesting allowance and payment of a Professional Fee Claim).

        Allowed Professional Fee Claims shall be paid in full, in Cash, in such amounts as are
Allowed by the Bankruptcy Court on or as soon as reasonably practicable after the later of: (a)
the date upon which an order relating to any such Allowed Professional Fee Claim is entered;
and (b) such other date(s) as the holders of the Allowed Professional Fee Claim and the Debtors
or the Reorganized Debtors, as applicable, shall have agreed.

       The Reorganized Debtors are authorized to pay compensation for services rendered or
reimbursement of expenses incurred by their Professionals after the Effective Date in the
ordinary course and without the need for Bankruptcy Court approval.

       B.      Priority Tax Claims.

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, each holder of an Allowed Priority Tax Claim shall receive on account of
and in full and complete settlement, release and discharge of, and in exchange for, such Allowed
Priority Tax Claim, at the sole option of the Debtors or the Reorganized Debtors, as applicable:
(1) Cash in an amount equal to such Allowed Priority Tax Claim on, or as soon thereafter as is
reasonably practicable, the later of (a) the Effective Date, to the extent such Claim is an Allowed
Priority Tax Claim on the Effective Date; (b) the first Business Day after the date that is thirty
(30) calendar days after the date such Priority Tax Claim becomes an Allowed Priority Tax
Claim; and (c) the date such Allowed Priority Tax Claim is due and payable in the ordinary
course as such obligation becomes due; provided, however, that the Debtors reserve the right to
prepay all or a portion of any such amounts at any time under this option without penalty or
premium; or (2) regular installment payments in Cash of a total value, as of the Effective Date of




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the Plan, equal to the Allowed amount of such Claim over a period ending not later than five
years after the Petition Date.

                                          ARTICLE III

         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

        A.     Classification of Claims and Interests.

               1.      Classification in General.

       The Plan constitutes a separate chapter 11 plan of reorganization for each Debtor. A
Claim or Interest is placed into a particular Class for all purposes, including voting,
confirmation, and distribution under the Plan and under sections 1122 and 1123(a)(1) of the
Bankruptcy Code. A Claim or Interest is placed in a particular Class only to the extent that such
Claim or Interest is Allowed in that Class (if applicable) and has not been satisfied, released, or
otherwise settled prior to the Effective Date.

               2.      Summary of Classification.

        The following table designates the Classes of Claims against and Interests in the Debtors
and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan; (b) entitled to
vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code; or
(c) presumed to accept or deemed to reject the Plan. In accordance with section 1123(a)(1) of
the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims have not been
classified.

Class                  Claim                  Status                    Voting Rights
  1     Other Priority Claims              Unimpaired     Presumed to Accept; Not Entitled to Vote
  2     Other Secured Claims               Unimpaired     Presumed to Accept; Not Entitled to Vote
 3A     2010 Credit Facility Claims        Impaired       Entitled to Vote
 3B     2019 RCF Claims                    Impaired       Entitled to Vote
 4A     2010 Bond Claims                   Impaired       Entitled to Vote
 4B     2012 Bond Claims                   Impaired       Entitled to Vote
  5     General Unsecured Claims           Impaired       Entitled to Vote
  6     Abuse Claims                       Impaired       Entitled to Vote
  7     Interests in Delaware BSA, LLC     Unimpaired     Presumed to Accept; Not Entitled to Vote

        B.     Treatment of Claims and Interests.

               1.      Class 1 – Other Priority Claims.

                       a.     Classification: Class 1 consists of all Other Priority Claims.

                       b.     Treatment: Except to the extent that a holder of an Allowed Other
                              Priority Claim agrees to less favorable treatment of such Claim, in
                              exchange for full and final satisfaction of such Allowed Other
                              Priority Claim, at the sole option of the Reorganized Debtors: (i)


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             each such holder shall receive payment in Cash in an amount equal
             to such Allowed Other Priority Claim, payable on or as soon as
             reasonably practicable after the last to occur of (x) the Effective
             Date, (y) the date on which such Other Priority Claim becomes an
             Allowed Other Priority Claim, and (z) the date on which the holder
             of such Allowed Other Priority Claim and the Debtors or
             Reorganized Debtors, as applicable, shall otherwise agree in
             writing; or (ii) satisfaction of such Allowed Other Priority Claim in
             any other manner that renders the Allowed Other Priority Claim
             Unimpaired, including Reinstatement.

      c.     Voting: Class 1 is Unimpaired, and each holder of an Other
             Priority Claim is conclusively presumed to have accepted the Plan
             pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
             holders of Other Priority Claims are not entitled to vote to accept
             or reject the Plan, and the votes of such holders will not be
             solicited with respect to Other Priority Claims.

 2.   Class 2 – Other Secured Claims.

      a.     Classification: Class 2 consists of all Other Secured Claims. To
             the extent that Other Secured Claims are Secured by different
             collateral or different interests in the same collateral, such Claims
             shall be treated as separate subclasses of Class 2 for purposes of
             voting to accept or reject the Plan and receiving Plan Distributions
             under the Plan.

      b.     Treatment: Except to the extent that a holder of an Allowed Other
             Secured Claim agrees to less favorable treatment of such Claim, in
             exchange for full and final satisfaction of such Allowed Other
             Secured Claim, each holder of an Allowed Other Secured Claim
             will receive, at the sole option of the Reorganized Debtors:
             (i) Cash in an amount equal to the Allowed amount of such Claim,
             including the payment of any interest required to be paid under
             section 506(b) of the Bankruptcy Code, payable on or as soon as
             reasonably practicable after the last to occur of (x) the Effective
             Date, (y) the date on which such Other Secured Claim becomes an
             Allowed Other Secured Claim, and (z) the date on which the
             holder of such Allowed Other Secured Claim and the Debtors or
             Reorganized Debtor, as applicable, shall otherwise agree in
             writing; (ii) satisfaction of such Other Secured Claim in any other
             manner that renders the Allowed Other Secured Claim
             Unimpaired, including Reinstatement; or (iii) return of the
             applicable collateral on the Effective Date or as soon as reasonably
             practicable thereafter in satisfaction of the Allowed amount of such
             Other Secured Claim.



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      c.     Voting: Class 2 is Unimpaired, and each holder of an Other
             Secured Claim is conclusively presumed to have accepted the Plan
             pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
             holders of Other Secured Claims are not entitled to vote to accept
             or reject the Plan, and the votes of such holders will not be
             solicited with respect to Other Secured Claims.

 3.   Class 3A – 2010 Credit Facility Claims.

      a.     Classification:   Class 3A consists of all 2010 Credit Facility
             Claims.

      b.     Allowance: On the Effective Date, all 2010 Credit Facility Claims
             shall be deemed fully Secured and Allowed pursuant to section
             506(a) of the Bankruptcy Code in the principal amount of $[●] and
             not subject to any counterclaim, defense, offset, or reduction of
             any kind. Because all 2010 Credit Facility Claims are deemed
             fully Secured, there are no unsecured 2010 Credit Facility Claims,
             and the holders of such Claims do not have or hold any Class 5
             Claims against the Debtors on account of any 2010 Credit Facility
             Claims.

      c.     Treatment: Except to the extent that a holder of an Allowed 2010
             Credit Facility Claim agrees to less favorable treatment of such
             Claim, in full and final satisfaction, settlement, release, and
             discharge of, and in exchange for an Allowed 2010 Credit Facility
             Claim, the Reorganized Debtors shall enter into, execute and
             deliver the Restated 2010 Credit Facility Documents.

      d.     Voting: Class 3A is Impaired, and each holder of a Allowed 2010
             Credit Facility Claim is entitled to vote to accept or reject the Plan.

 4.   Class 3B – 2019 RCF Claims.

      a.     Classification: Class 3B consists of all 2019 RCF Claims.

      b.     Allowance: On the Effective Date, all 2019 RCF Claims shall be
             deemed fully Secured and Allowed pursuant to section 506(a) of
             the Bankruptcy Code in the principal amount of $[●] and not
             subject to any counterclaim, defense, offset, or reduction of any
             kind. Because all 2019 RCF Claims are deemed fully Secured,
             there are no unsecured 2019 RCF Claims, and the holders of such
             Claims do not have or hold any Class 5 Claims against the Debtors
             on account of any 2019 RCF Claims.

      c.     Treatment: Except to the extent that a holder of an Allowed 2019
             RCF Claim agrees to less favorable treatment of such Claim, in full
             and final satisfaction, settlement, release, and discharge of, and in


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            exchange for an Allowed 2019 RCF Claim, the Reorganized
            Debtors shall enter into, execute and deliver the Restated 2019
            RCF Documents.

      d.    Voting: Class 3B is Impaired, and each holder of a 2019 RCF
            Claim is entitled to vote to accept or reject the Plan.

 5.   Class 4A – 2010 Bond Claims.

      a.    Classification: Class 4A consists of all 2010 Bond Claims.

      b.    Allowance: On the Effective Date, all 2010 Bond Claims shall be
            deemed fully Secured and Allowed pursuant to section 506(a) of
            the Bankruptcy Code in the principal amount of $[●] and not
            subject to any counterclaim, defense, offset, or reduction of any
            kind. Because all 2010 Bond Claims are deemed fully Secured,
            there are no unsecured 2010 Bond Claims, and the holders of such
            Claims do not have or hold any Class 5 Claims against the Debtors
            on account of any 2010 Bond Claims.

      c.    Treatment: Except to the extent that a holder of an Allowed 2010
            Bond Claim agrees to less favorable treatment of such Claim, in
            full and final satisfaction, settlement, release, and discharge of, and
            in exchange for an Allowed 2010 Bond Claim, the Reorganized
            Debtors shall enter into, execute and deliver the Restated 2010
            Bond Documents.

      d.    Voting: Class 4A is Impaired, and each holder of a 2010 Bond
            Claim is entitled to vote to accept or reject the Plan.

 6.   Class 4B – 2012 Bond Claims.

      a.    Classification: Class 4B consists of all 2012 Bond Claims.

      b.    Allowance: On the Effective Date, all 2012 Bond Claims shall be
            deemed fully Secured and Allowed pursuant to section 506(a) of
            the Bankruptcy Code in the principal amount of $[●] and not
            subject to any counterclaim, defense, offset, or reduction of any
            kind. Because all 2012 Bond Claims are deemed fully Secured,
            there are no unsecured 2012 Bond Claims, and the holders of such
            Claims do not have or hold any Class 5 Claims against the Debtors
            on account of any 2012 Bond Claims.

      c.    Treatment: Except to the extent that a holder of an Allowed 2012
            Bond Claim agrees to less favorable treatment of such Claim, in
            full and final satisfaction, settlement, release, and discharge of, and
            in exchange for an Allowed 2012 Bond Claim, the Reorganized



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             Debtors shall enter into, execute and deliver the Restated 2012
             Bond Documents.

      d.     Voting: Class 4B is Impaired, and each holder of a 2012 Bond
             Claim is entitled to vote to accept or reject the Plan.

 7.   Class 5 – General Unsecured Claims.

      a.     Classification: Class 5 consists of all General Unsecured Claims.

      b.     Treatment: Except to the extent that a holder of an Allowed
             General Unsecured Claim agrees to less favorable treatment of
             such Claim, in exchange for full and final satisfaction, settlement,
             release, and discharge of, and in exchange for, each Allowed
             General Unsecured Claim, each holder thereof shall receive such
             holder’s Pro Rata share of the GUC Plan Distribution.

      c.     Voting: Class 5 is Impaired, and each holder of a General
             Unsecured Claim is entitled to vote to accept or reject the Plan.

 8.   Class 6 – Abuse Claims.

      a.     Classification: Class 6 consists of all Abuse Claims.

      b.     Treatment: As of the Effective Date, liability for all Abuse Claims
             shall be assumed in full by the Victims Compensation Trust
             without further act, deed, or court order and shall be satisfied
             solely from the Victims Compensation Trust as set forth in the
             Trust Documents. Pursuant to the Channeling Injunction set forth
             in Article X, each holder of an Abuse Claim shall have his or her
             Abuse Claim permanently channeled to the Victims Compensation
             Trust, and such Abuse Claim shall thereafter be asserted
             exclusively against the Victims Compensation Trust and resolved
             in accordance with the terms, provisions, and procedures of the
             Trust Documents. Holders of Abuse Claims are enjoined from
             prosecuting any outstanding, or filing any future, litigation,
             Claims, or Causes of Action arising out of or related to such Abuse
             Claims against any of the Protected Parties and may not proceed in
             any manner against any such Persons in any forum whatsoever,
             including any state, federal, or non-U.S. court or any
             administrative or arbitral forum, and are required to pursue their
             Abuse Claims solely against the Victims Compensation Trust as
             provided in the Trust Documents.

             HOLDERS OF ABUSE CLAIMS (OTHER THAN FUTURE
             ABUSE CLAIMS) SHALL BE REQUIRED TO SUBMIT A
             PROOF OF CLAIM ON OR BEFORE THE ABUSE CLAIMS



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                              BAR DATE IN ACCORDANCE WITH THE BAR DATE
                              ORDER.

                              HOLDERS OF ABUSE CLAIMS MAY BE REQUIRED TO
                              SUBMIT ADDITIONAL DOCUMENTATION REGARDING
                              SUCH CLAIMS IN ACCORDANCE WITH THE TRUST
                              DOCUMENTS.

                      c.      Voting: Class 6 is Impaired, and each holder of an Abuse Claim is
                              entitled to vote to accept or reject the Plan.

               9.     Class 7 – Interests in Delaware BSA, LLC.

                      a.      Classification: Class 7 consists of all Interests in Delaware BSA,
                              LLC.

                      b.      Treatment: On the Effective Date, Interests in Delaware BSA,
                              LLC shall be Reinstated, and the legal, equitable, and contractual
                              rights to which holders of Interests in Delaware BSA, LLC are
                              entitled shall remain unaltered to the extent necessary to
                              implement the Plan.

                      c.      Voting: Class 7 is Unimpaired, and each holder of an Interest in
                              Delaware BSA, LLC shall be conclusively presumed to have
                              accepted the Plan pursuant to section 1126(f) of the Bankruptcy
                              Code. Therefore, holders of Interests in Delaware BSA, LLC are
                              not entitled to vote to accept or reject the Plan, and the votes of
                              such holders will not be solicited with respect to Interests in
                              Delaware BSA, LLC.

       C.      Elimination of Vacant Classes.

        Any Class of Claims against or Interests in the Debtors that, as of the commencement of
the Confirmation Hearing, does not have at least one holder of a Claim or Interest that is
Allowed in an amount greater than zero for voting purposes shall be considered vacant, deemed
eliminated from the Plan for purposes of voting to accept or reject the Plan, and disregarded for
purposes of determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code
with respect to that Class. For the avoidance of doubt, this Section III.C shall not apply to Class
6 or Class 7.

                                         ARTICLE IV

                            VICTIMS COMPENSATION TRUST

       A.      Establishment and Purpose of the Victims Compensation Trust.

     The Victims Compensation Trust shall be established on the Effective Date. The Victims
Compensation Trust shall be administered and implemented by the Victims Compensation


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Trustee as provided in the Trust Documents. Specifically, the Victims Compensation Trust shall,
without limitation: (1) assume liability for all Abuse Claims; and (2) hold and administer the
Trust Assets, liquidate the Abuse Claims, and make Trust Distributions to holders of Abuse
Claims from the Trust Assets.

        The Victims Compensation Trust shall, as applicable, administer, process, settle, resolve,
liquidate, satisfy, and make Trust Distributions from the Trust Assets on account of Abuse
Claims in such a way that the holders of Abuse Claims are treated equitably and in a
substantially similar manner, subject to the applicable terms of the Plan Documents and the Trust
Documents. From and after the Effective Date, the Abuse Claims shall be channeled to the
Victims Compensation Trust pursuant to the Channeling Injunction set forth in Article X and
may be asserted only and exclusively against the Victims Compensation Trust.

       B.      Receipt of Trust Assets.

        On the Effective Date, all Trust Assets shall be automatically and without further act or
deed, transferred to, vested in and assumed by the Victims Compensation Trust; provided,
however, that to the extent that certain Trust Assets, because of their nature or because such
assets will accrue or become transferable to the Victims Compensation Trust subsequent to the
Effective Date, cannot be transferred to, vested in and assumed by the Victims Compensation
Trust on the Effective Date, such Trust Assets shall be automatically, and without further act or
deed, transferred to, vested in and assumed by the Victims Compensation Trust as soon as
practicable after the Effective Date. Notwithstanding anything in the Plan to the contrary, no
monies, choses in action, and/or assets comprising the Trust Assets that have been transferred,
granted, assigned, or otherwise delivered to the Victims Compensation Trust shall be used for
any purpose other than in accordance with the Plan and the Trust Documents, including the
payment or administration of Abuse Claims as set forth in the Trust Documents. Any applicable
Insurance Proceeds recovered or received by the Victims Compensation Trust will be allocated
as set forth in the Trust Documents.

       C.      The Trust Distribution Procedures.

        On the Effective Date, the Victims Compensation Trust shall implement the Trust
Distribution Procedures in accordance with the terms of the Trust Agreement. From and after
the Effective Date, the Victims Compensation Trustee shall have the authority to administer,
amend, supplement, or modify the Trust Distribution Procedures in accordance with the terms
thereof and the Trust Agreement. From and after the Effective Date, the Victims Compensation
Trust shall liquidate and make Trust Distributions to holders of Abuse Claims in accordance with
the Trust Documents.

       D.      Discharge of Liabilities to Holders of Abuse Claims.

       Except as provided in the Plan, the transfer to, vesting in and assumption by the Victims
Compensation Trust of the Trust Assets as contemplated by the Plan shall, as of the Effective
Date, discharge all obligations and liabilities of and bar any recovery or action against the
Protected Parties for or in respect of all Abuse Claims (and the Confirmation Order shall provide
for such discharge). The Victims Compensation Trust shall, as of the Effective Date, assume



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sole and exclusive responsibility and liability for all Abuse Claims against the Protected Parties,
and such Claims shall be paid by the Victims Compensation Trust from the Trust Assets or as
otherwise directed in the Trust Documents.

       E.      Imposition of Channeling Injunction.

        From and after the Effective Date, all Abuse Claims shall be subject to the Channeling
Injunction pursuant to section 105(a) of the Bankruptcy Code and the provisions of the Plan and
the Confirmation Order. From and after the Effective Date, the Protected Parties shall not have
any obligation with respect to any liability of any nature or description arising out of, relating to,
or in connection with any Abuse Claims.

       F.      Insurance Rights Transfer.

       In furtherance of the purpose of the Victims Compensation Trust:

                1.     as of the Effective Date, the Protected Parties shall irrevocably transfer,
grant, and assign to the Victims Compensation Trust, and the Victims Compensation Trust shall
receive and accept, any and all of the Insurance Rights. To the extent any Insurer consented to a
prepetition settlement agreement with respect to an Abuse Claim or otherwise has consented to
pay an Abuse Claim on behalf of one or more of the Protected Parties, then the applicable
Protected Parties transfer and assign to the Victims Compensation Trust the right to enforce such
Insurer’s obligation. This Insurance Rights Transfer is made to the Victims Compensation Trust
for the benefit of Persons that have a Claim for compensation for damages against the Protected
Parties on account of Abuse Claims;

               2.      the Insurance Rights Transfer is made free and clear of all Claims, Liens,
Encumbrances, or Causes of Action of any nature whatsoever, except available limits of liability
for coverage of certain types of claims under one or more of the Insurance Policies that may have
been reduced by certain prepetition payments made by an Insurer under any of the Insurance
Policies;

               3.      the Victims Compensation Trust shall be solely responsible for satisfying,
to the extent required under applicable law, any premiums, deductibles, self-insured retentions,
and fronting obligations arising in any way out of any and all Abuse Claims;

               4.     the Victims Compensation Trust shall comply with any notice obligations
required under the Insurance Policies and applicable law;

              5.      the Insurance Rights Transfer is made to the maximum extent possible
under applicable law;

               6.     the Insurance Rights Transfer is absolute and does not require any further
action by the Protected Parties, the Victims Compensation Trust, the Bankruptcy Court, or any
other Person;

                7.      the Insurance Rights Transfer is not an assignment of any insurance policy
itself and shall be valid and enforceable in accordance with the terms of any Insurance Policy, in


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each case notwithstanding any anti-assignment provision in or incorporated into any Insurance
Policy; and

                 8.     the Insurance Rights Transfer shall be governed by, and construed in
accordance with, the Bankruptcy Code and the laws of the state of Delaware, without regard to
its conflict of law principles.

For the avoidance of doubt, the Insurance Rights Transfer that is the subject of this Section IV.F
shall not, and shall not be deemed to, transfer, grant, or assign to the Victims Compensation
Trust any insurance rights of the Debtors or the Local Councils that pertain to any Insured Non-
Abuse Claims. Nor shall the Insurance Rights Transfer violate or be deemed to violate any
cooperation clause of any Insurance Policy. The insurance rights of the Debtors or the Local
Councils that pertain to Insured Non-Abuse Claims are expressly reserved for the Debtors, the
Reorganized Debtors, or the Local Councils, as applicable, and the Plan Documents shall not,
and shall not be deemed to, transfer, grant, or assign such rights to the Victims Compensation
Trust. Moreover, for the avoidance of doubt, the insurance rights of any Person that is not a
Protected Party are expressly reserved for such Person (including any rights of any director,
manager, officer or employee of the Debtors or any Local Council under the D&O Liability
Insurance Policies), and the Plan Documents shall not, and shall not be deemed to, transfer,
grant, or assign such rights to the Victims Compensation Trust.

In that regard and notwithstanding the transfer of Insurance Rights pursuant to this Section IV.F,
with respect to any Insurance Policy with an inception date of January 1, 2000 to the present, the
Debtors and the Reorganized Debtors expressly reserve the right to (1) tender any Insured Non-
Abuse Claims to those Insurance Policies and (2) access the limits of liability of those Insurance
Policies to settle or otherwise resolve Insured Non-Abuse Claims. Further, the Victims
Compensation Trust cannot settle, compromise, or otherwise resolve any rights, duties, or
obligations under those Insurance Policies issued after January 1, 2000 without the express
written consent and approval of the Debtors or the Reorganized Debtors, as applicable.
Nonetheless, the Victims Compensation Trust shall have the same rights as the Debtors and the
Reorganized Debtors with respect to any Insurance Policy with an inception date of January 1,
2000 to the present insofar as the Victims Compensation Trust may: (a) tender Abuse Claims to
those Insurance Policies; and (b) access the limits of liability of those Insurance Policies to pay
Abuse Claims pursuant to the Trust Distribution Procedures.

Moreover, for the avoidance of doubt, the insurance rights of any Person that is not a Protected
Party are expressly reserved for such Person, and the Plan Documents shall not, and shall not be
deemed to, transfer, grant, or assign such rights to the Victims Compensation Trust.

       G.      Indemnification Obligations.

        If for any reason an Abuse Claim is asserted against a Protected Party on or after the
Effective Date in violation of the Channeling Injunction, the Victims Compensation Trust shall
indemnify and hold each of the Protected Parties harmless from and against any and all Abuse
Claims, as well as indemnify and reimburse such parties for all associated fees, costs and
expenses, to the extent set forth in the Trust Documents.




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     In connection with the indemnification that must be provided by the Victims
Compensation Trust, each Protected Party has the express right to:

              1.     appoint defense counsel of its choosing, subject to consent by the Victims
Compensation Trust regarding the hourly rates to be charged, such consent not to be
unreasonably withheld;

                2.     manage the defense of any such Claim subject to appropriate updates
being provided to the Victims Compensation Trust, but the Victims Compensation Trust shall
not control the defense of the Protected Party to any such Claim;

               3.     settle or otherwise resolve any Claim that is subject to indemnification by
the Victims Compensation Trust, provided that notice of any such settlement or resolution is
provided to the Victims Compensation Trust, but the Victims Compensation Trust is not required
to consent to any such settlement or resolution; and

              4.      proceed to trial and verdict with respect to any Claim that is subject to
indemnification by the Victims Compensation Trust, subject to the consent and approval by the
Victims Compensation Trust to proceed to trial and verdict.

       H.     Investment Guidelines.

        All monies held in the Victims Compensation Trust shall be invested, subject to the
investment limitations and provisions enumerated in the Trust Agreement and shall not be
limited to the types of investments described in section 345 of the Bankruptcy Code.

       I.     Excess Assets in Victims Compensation Trust.

        On the Trust Termination Date, after the payment of all Abuse Claims that are entitled to
a Trust Distribution from the Victims Compensation Trust and all Trust Expenses that have been
provided for, and the liquidation of all assets then held by the Victims Compensation Trust, any
remaining value in the Victims Compensation Trust shall be distributed to a charity to be
selected jointly by the Victims Compensation Trustee and the Reorganized Debtors.

       J.     Trust Expenses.

       The Victims Compensation Trust shall pay all Trust Expenses from the Victims
Compensation Trust, as provided for in the Trust Agreement. The Protected Parties shall have
no obligation to pay any Trust Expenses.

       K.     Victims Compensation Trustee.

         There shall be one Victims Compensation Trustee. On the Confirmation Date, the
Bankruptcy Court shall appoint the Victims Compensation Trustee to serve in accordance with,
and who shall have the functions and rights provided in, the Trust Agreement. Any successor
Victims Compensation Trustee shall be appointed in accordance with the terms of the Trust
Agreement. For purposes of any Victims Compensation Trustee performing his or her duties and
fulfilling his or her obligations under the Victims Compensation Trust and the Plan, the Victims


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Compensation Trust and the Victims Compensation Trustee shall be deemed to be “parties in
interest” within the meaning of section 1109(b) of the Bankruptcy Code. The Victims
Compensation Trustee shall be the “administrator” of the Victims Compensation Trust as such
term is used in Treas. Reg. Section 1.468B-2(k)(3).

       L.      Compensation of Victims Compensation Trustee and Retention of Professionals.

       The Victims Compensation Trustee shall be entitled to compensation as provided for in
the Trust Agreement. The Victims Compensation Trustee may retain and reasonably
compensate, without Bankruptcy Court approval, counsel and other professionals as reasonably
necessary to assist in his or her duties as Victims Compensation Trustee, subject to the terms of
the Trust Agreement. All fees and expenses incurred in connection with the foregoing shall be
payable from the Victims Compensation Trust as provided for in the Trust Agreement.

       M.      Future Claimants’ Representative.

         The Trust Agreement shall provide for the continuation of the Future Claimants’
Representative to serve as an advisor to the Victims Compensation Trust representing the
interests of holders of Future Abuse Claims. The Future Claimants’ Representative shall have
the functions and rights set forth in the Trust Agreement. The Victims Compensation Trustee
shall consult with the Future Claimants’ Representative on matters pertaining to the
administration of the Victims Compensation Trust and must obtain the consent of the Future
Claimants’ Representative as set forth in the Trust Agreement and the Trust Distribution
Procedures. The Victims Compensation Trustee shall meet with the Future Claimants’
Representative no less frequently than quarterly. The Future Claimants’ Representative shall
receive reasonable compensation for his services from the Victims Compensation Trust and may
utilize counsel and other professionals as reasonably necessary to assist in the performance of his
or her duties, and the Future Claimants’ Representative and his professionals shall be entitled to
reasonable reimbursement of expenses by the Victims Compensation Trust, subject to
compliance with an agreed-upon budget that shall be set forth in the Trust Agreement.

       N.      Trust Advisory Committee.

       The Trust Agreement shall provide for the establishment of the Trust Advisory
Committee to serve as an advisory committee to the Victims Compensation Trust representing
the interests of holders of Abuse Claims. The Trust Advisory Committee shall have the
functions and rights provided for in the Trust Agreement. The initial Trust Advisory Committee
shall consist of three members. The Trust Agreement shall provide that the Victims
Compensation Trustee shall consult with the Trust Advisory Committee on matters pertaining to
the administration of the Victims Compensation Trust and must obtain the consent of the
Advisory Committee as set forth in the Trust Agreement and the Trust Distribution Procedures.
The Victims Compensation Trustee shall meet with the Victims Compensation Trust Advisory
Committee no less frequently than quarterly. The Trust Advisory Committee shall receive
reasonable compensation for their services from the Victims Compensation Trust and may utilize
counsel and other professionals as reasonably necessary to assist in the performance of its duties,
and the Trust Advisory Committee and their professionals shall be entitled to reasonable




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reimbursement of expenses by the Victims Compensation Trust, subject to compliance with an
agreed-upon budget that shall be set forth in the Trust Agreement.

       O.      Consent Rights of the Debtors and the Reorganized Debtors.

       The Trust Documents may not be amended or modified without the consent of the
Debtors or the Reorganized Debtors, as applicable, which shall not be unreasonably withheld.
The Debtors shall also have consent rights with respect to any successor Victims Compensation
Trustee and Trust Advisory Committee members, which consent shall not be unreasonably
withheld. Notwithstanding any of the foregoing, the Indemnification Obligations of the Victims
Compensation Trust described in this Article IV may not be amended or modified without the
consent of the Protected Party that is otherwise entitled to indemnification pursuant to those
provisions.

       P.      Cooperation; Transfer of Books and Records.

        On the Effective Date or as soon as reasonably practicable thereafter, the Debtors and the
other Protected Parties shall transfer and assign, or cause to be transferred and assigned, to the
Victims Compensation Trustee (1) copies of all of their books and records that pertain to Abuse
Claims, including all ineligible volunteer files to the extent authorized and directed by the Court
pursuant to the Confirmation Order, (2) copies of all Insurance Policies, (3) information relating
to Abuse Claims previously noticed, tendered, or submitted under the Insurance Policies or paid
by any Insurer so long as such information is presently stored and readily accessible on the
Protected Parties’ then-current electronic record-management systems, and (4) any other
information reasonably necessary to operate the Victims Compensation Trust and preserve,
secure, or obtain the benefit of the Insurance Rights. If at any time after the Effective Date, any
of the Reorganized Debtors or the other Protected Parties discover the existence of an Insurance
Policy that provides or may provide coverage for Abuse Claims, the Person discovering such
policy or evidence of the existence of such policy shall promptly inform the Victims
Compensation Trustee. The Victims Compensation Trust shall reimburse the Debtors or the
Reorganized Debtors, as applicable, for all reasonable costs and expenses incurred by Protected
Parties in connection with the transfers and assignments that are the subject of this Section IV.P.

       The transfer or assignment of information, which may include Privileged Information, to
the Victims Compensation Trustee in accordance with this Section IV.P shall not result in the
destruction or waiver of any applicable privileges pertaining to Privileged Information. Further,
with respect to any privileges: (a) they are transferred to or contributed for the sole purpose of
enabling the Victims Compensation Trustee to perform his or her duties to administer the
Victims Compensation Trust and for no other reason, (b) they are vested solely in the Victims
Compensation Trustee and not in the Victims Compensation Trust, the Future Claimants’
Representative, the Trust Advisory Committee or any other Person, committee or subcomponent
of the Victims Compensation Trust, or any other Person (including counsel and other
professionals) who has been engaged by, represents or has represented any holder of an Abuse
Claim, (c) they shall be preserved and not waived, and (d) no privileged information shall be
publicly disclosed by the Victims Compensation Trustee or the Victims Compensation Trust or
communicated to any Person not entitled to receive such information or in a manner that would
diminish the protected status of any such information. Notwithstanding the foregoing, nothing


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herein shall preclude the Victims Compensation Trustee from providing information received
pursuant to this section to any Insurer as necessary to preserve, secure, or obtain the benefit of
the Insurance Rights.

       Q.      No Liability.

         Neither the Protected Parties nor the Local Council Committee shall have or incur any
liability to, or be subject to any right of action by, any Person for any act, omission, transaction,
event, or other circumstance in connection with or related to the Future Claimants’
Representative, the Victims Compensation Trust, the Victims Compensation Trustee, or the
Trust Documents, including the administration of Abuse Claims and the distribution of property
by the Victims Compensation Trust, or any other related agreement, or upon any other act or
omission, transaction, agreement, event, or other occurrence related or relating to the foregoing.

       R.      U.S. Federal Income Tax Treatment of the Victims Compensation Trust.

        The Victims Compensation Trust shall be a “qualified settlement fund” within the
meaning of Treasury Regulation section 1.468B-1. The Victims Compensation Trust shall file
(or cause to be filed) statements, returns, or disclosures relating to the Victims Compensation
Trust that are required by any governmental unit. The Victims Compensation Trustee shall be
responsible for the payment of any taxes imposed on the Victims Compensation Trust or the
Trust Assets, including estimated and annual U.S. federal income taxes in accordance with the
terms of the Trust Agreement. The Victims Compensation Trustee may request an expedited
determination of taxes on the Victims Compensation Trust under section 505(b) of the
Bankruptcy Code for all returns filed for, or on behalf of, the Victims Compensation Trust for all
taxable periods through the dissolution of the Victims Compensation Trust.

       S.      Institution and Maintenance of Legal and Other Proceedings.

         As of the Effective Date, the Victims Compensation Trust shall be empowered to initiate,
prosecute, defend, and resolve all legal actions and other proceedings related to any asset,
liability, or responsibility of the Victims Compensation Trust. The Victims Compensation Trust
shall be empowered to initiate, prosecute, defend, and resolve all such actions in the name of the
Debtors if deemed necessary or appropriate by the Victims Compensation Trustee. The Victims
Compensation Trust shall be responsible for the payment of all damages, awards, judgments,
settlements, expenses, costs, fees, and other charges incurred subsequent to the Effective Date
arising from, relating to, or associated with any legal action or other proceeding brought pursuant
to this Section IV.R and shall pay or reimburse all deductibles, retrospective premium
adjustments, fronting obligations or other charges which may arise from the receipt of the
Insurance Proceeds by the Victims Compensation Trust. For the avoidance of doubt, the Victims
Compensation Trust, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable
State corporate law, is appointed as the successor-in-interest to, and representative, of the
Debtors and their Estates for the retention, enforcement, settlement, or adjustment of all Abuse
Claims.

       T.      Insurance Neutrality.




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        Unless otherwise expressly agreed to by an Insurer in writing, notwithstanding any
provision in the Plan Documents including any provision that purports to be preemptory or
supervening, nothing contained in any such documents or in this Section IV.S shall in any way
operate to, or have the effect of, impairing, altering, supplementing, changing, expanding,
decreasing, or modifying (1) the rights or obligations of any of any Insurer arising out of or
under any Insurance Policy or (2) any rights or obligations of the Debtors arising out of or under
any Insurance Policy. For all issues relating to insurance coverage, including all rights and
obligations under the Insurance Policies, the provisions, terms, conditions, and limitations of the
Insurance Policies shall control; provided, however, that, for the avoidance of doubt, (a) none of
the Debtors’ or any Insurer’s defenses, rights, and obligations with respect to the Insurance
Actions shall be impaired or otherwise affected in any way, and (b) nothing herein shall
constitute a determination, consent to, or waiver of jurisdiction as to the Insurance Actions.

         For the avoidance of doubt, and without limiting the rights and obligations referenced in
the first paragraph of this Section IV.S, nothing contained in the Plan Documents shall operate to
require any Insurer to indemnify or pay the liability of any Protected Party that it would not have
been required to pay in the absence of the Plan.

         Unless otherwise expressly agreed to by an Insurer in writing, notwithstanding any
provision in the Plan Documents, including any provision that purports to be preemptory or
supervening, nothing contained in any such documents or in this Section IV.S shall constitute, or
be deemed to constitute, a trial, adjudication, judgment, hearing on the merits, finding,
conclusion, other determination, evidence, or suggestion of any determination establishing the
liability of any Insurer (in the aggregate or otherwise) or establishing a coverage obligation in
subsequent litigation relating to any Claim or under any of the Insurance Policies.

                                           ARTICLE V

                     MEANS FOR IMPLEMENTATION OF THE PLAN

       A.      No Substantive Consolidation.

       The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for
each Debtor. The Plan is not premised upon the substantive consolidation of the Debtors with
respect to the Classes of Claims or Interests set forth in the Plan; provided, however, that the
Reorganized Debtors may consolidate Claims on a per Class basis for voting purposes.

       B.      General Settlement of Claims and Interests.

        As discussed further in the Disclosure Statement and as otherwise provided herein,
pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration
for the classification, distributions, releases, and other benefits provided under the Plan, upon the
Effective Date, the provisions of the Plan shall constitute a good faith compromise and
settlement of Claims, Interests, and controversies relating to the contractual, legal, and
subordination rights that holders of Claims or Interests might have with respect to any Claim or




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Interest under the Plan. Distributions made to holders of Claims in any Class are intended to be
final.

       C.      Sources of Consideration for Distributions.

        The Debtors or the Reorganized Debtors, as applicable, shall fund Plan Distributions
using Cash on hand and the proceeds of the Exit Facilities. For purposes of this Section V.C,
Cash on hand refers to the Debtors’ or the Reorganized Debtors’ Cash that does not constitute
Identified Property.

       D.      Exit Facilities.

        On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities and
provide any related guarantees, and the Exit Facilities shall be made available to the Reorganized
Debtors pursuant and subject to the terms and conditions set forth in the Exit Facilities
Documents. The Confirmation Order shall constitute approval of the Exit Facilities (including
the transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
obligations to be incurred and fees paid by the Reorganized Debtors in connection therewith),
and authorization for the Reorganized Debtors to enter into and perform under the Exit Facilities
Documents and such other documents as may be required or appropriate.

       E.      Organizational Documents.

        The Reorganized Debtors shall enter into such agreements and amend their formation,
organizational and/or governance documents, including their bylaws and rules and regulations,
as applicable, to the extent necessary to implement the terms and provisions of the Plan. After
the Effective Date, the Reorganized Debtors may amend and restate their respective
organizational documents, and the Reorganized Debtors may file their respective charters,
certificates of formation, bylaws, rules and regulations, limited liability company agreements, or
such other applicable organizational and/or governance documents, as applicable, and other
constituent documents as permitted by applicable laws.

       F.      Reorganized Debtors’ Directors and Senior Management.

        Pursuant to section 1129(a)(5) of the Bankruptcy Code, to the extent that there are
anticipated changes in the Reorganized Debtors’ directors and officers, the Debtors will identify
those changes in the Plan Supplement and thereafter such changes will be attached to the Plan as
Exhibit Q. After the Effective Date, the Reorganized Debtors’ organizational documents, as
each may be amended thereafter from time to time, shall govern the designation and election of
directors of the Reorganized Debtors.

       G.      Due Authorization.

       Upon the Effective Date, all actions contemplated by the Plan shall be deemed
authorized, approved, and, to the extent taken prior to the Effective Date, ratified in all respects
without any requirement of further action by members, creditors, directors, or managers of the
Debtors, the Reorganized Debtors, or any other Person.



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       H.      Continued Legal Existence.

        Except as otherwise provided in the Plan, each of the Debtors shall continue to exist on
and after the Effective Date as a separate Person, with all of the powers of such Person under
applicable law in the jurisdiction in which each Debtor is organized, incorporated, or otherwise
formed and pursuant to such Debtor’s formation, organizational and governance documents in
effect immediately prior to the Effective Date, without prejudice to any right of the Reorganized
Debtors to terminate such existence (whether by merger or otherwise) under applicable law after
the Effective Date.

       I.      Vesting of Assets in the Reorganized Debtors.

       Except as otherwise explicitly provided in the Plan, on the Effective Date, pursuant to
sections 1141(b) and 1141(c) of the Bankruptcy Code, all property comprising the Estates, other
than the BSA Trust Contributions, shall vest in each respective Reorganized Debtor free and
clear of all Liens, Claims, interests, charges, other Encumbrances and liabilities of any kind
unless expressly provided by the Plan or the Confirmation Order. On and after the Effective
Date, each Reorganized Debtor may continue its operations and may use, acquire, or dispose of
property, and compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval of the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or the Bankruptcy Rules.

       J.      Cancellation of Indebtedness.

               1.      Except as otherwise provided in the Plan, or in any contract, instrument,
release or other agreement or document entered into or delivered in connection with the Plan, on
the Effective Date, all agreements, instruments, and other documents evidencing or issued
pursuant to the 2010 Credit Facility Documents, the 2019 RCF Documents, the 2010 Bond
Documents, the 2012 Bond Documents, or any indebtedness or other obligations thereunder, and
any rights of any holder in respect thereof, shall be deemed cancelled, discharged, and of no
force or effect, and the obligations of the Debtors thereunder shall be deemed fully satisfied,
released, and discharged.

                2.      Notwithstanding the foregoing, any provision in any document,
instrument, lease, or other agreement that causes or effectuates, or purports to cause or
effectuate, a default, termination, waiver, or other forfeiture of, or by, the Debtors as a result of
the cancellations, terminations, satisfaction, releases, or discharges provided for in the Plan shall
be deemed null and void and shall be of no force or effect. Nothing contained herein shall be
deemed to cancel, terminate, release, or discharge the obligation of the Debtors or any of their
counterparties under any executory contract or lease to the extent such executory contract or
lease has been assumed by the Debtors pursuant to a Final Order of the Bankruptcy Court or
hereunder.

       K.      Effectuating Documents and Further Transactions.

      The President and Chief Executive Officer, the Chief Financial Officer, and the General
Counsel shall be authorized to execute, deliver, file or record such contracts, instruments,



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releases and other agreements or documents and take or direct such actions as may be necessary
or appropriate to effectuate and further evidence the terms and conditions of the Plan.

       L.      Cancellation of Liens.

        Except as otherwise specifically provided herein, upon the payment in full in Cash of a
Secured Claim, any Lien securing a Secured Claim that is paid in full in Cash shall be deemed
released, and the holder of such Secured Claim shall be authorized and directed to release any
collateral or other property of the Debtors (including any Cash collateral) held by such holder
and to take such actions as may be requested by the Reorganized Debtors, to evidence the release
of such Lien, including the execution, delivery and filing or recording of such releases as may be
requested by the Reorganized Debtors.

       M.      Closing of Chapter 11 Cases.

       After an Estate has been fully administered, the Reorganized Debtors shall seek authority
from the Bankruptcy Court to close the applicable Chapter 11 Case(s) in accordance with the
Bankruptcy Code and Bankruptcy Rules.

       N.      Preservation of Causes of Action.

         In accordance with section 1123(b)(3) of the Bankruptcy Code, subject to Section X.G.1,
all Causes of Action that a Debtor may hold against any Person shall vest in the applicable
Reorganized Debtor on the Effective Date. Thereafter, subject to Section X.G.1, the
Reorganized Debtors shall have the exclusive right, authority, and discretion to determine and to
initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
judgment any such Causes of Action, whether arising before or after the Petition Date, and to
decline to do any of the foregoing without the consent or approval of any third party or further
notice to or action, order, or approval of the Bankruptcy Court. No Person may rely on the
absence of a specific reference in the Plan or the Disclosure Statement to any specific Cause of
Action as any indication that the Debtors or Reorganized Debtors, as applicable, will not pursue
any and all available Causes of Action. The Debtors or Reorganized Debtors, as applicable,
expressly reserve all rights to prosecute any and all Causes of Action against any Person, except
as otherwise expressly provided in the Plan, and, therefore, no preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel
(judicial, equitable or otherwise) or laches, shall apply to any Cause of Action upon, after, or as a
consequence of the Confirmation or the occurrence of the Effective Date.

       O.      Setoffs and Recoupment.

        The Debtors or the Reorganized Debtors, as applicable, may, but shall not be required to,
set off or recoup against any Claim, and any distribution to be made on account of such Claim,
any and all claims, rights, and Causes of Action of any nature whatsoever that the Debtors or the
Reorganized Debtors, as applicable, may have against the holder of such Claim pursuant to the
Bankruptcy Code or applicable non-bankruptcy law; provided, however, that the failure to do so
shall not constitute a waiver or release by a Debtor or a Reorganized Debtor, as applicable, or the
successor or assign of any of the foregoing of any claims, rights, or Causes of Action that a



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Debtor or a Reorganized Debtor or its successor or assign of any of the foregoing may possess
against the holder of such Claim.

       P.      Exemption from Certain Transfer Taxes and Recording Fees.

        To the maximum extent permitted pursuant to section 1146(a) of the Bankruptcy Code,
any transfers of property pursuant to the Plan (including the execution and delivery of the Exit
Facilities) shall not be subject to any document recording tax, stamp tax, conveyance fee,
intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax, sale or use tax,
mortgage recording tax, or other similar tax or governmental assessment, and, upon entry of the
Confirmation Order, the appropriate state or local governmental officials or agents shall forego
the collection of any such tax or governmental assessment and are allowed to accept for filing
and recordation any of the foregoing instruments or other documents pursuant to such transfers
of property without the payment of any such tax, recordation fee, or governmental assessment.

       Q.      Directors and Officers Insurance Policies.

        Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be
deemed to have assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to
section 365(a) of the Bankruptcy Code, effective as of the Effective Date. For the avoidance of
doubt, all of the Debtors’ D&O Liability Insurance Policies that provide protection to any Local
Council’s directors, managers, and officers shall be deemed assumed under this provision. Entry
of the Confirmation Order will constitute the Bankruptcy Court’s approval of the Reorganized
Debtors’ foregoing assumption of the unexpired D&O Liability Insurance Policies.

       R.      Other Insurance Policies.

        On the Effective Date, each of the Debtors’ insurance policies in existence as of the
Effective Date shall continue in accordance with their terms and, to the extent applicable, shall
be deemed assumed by the applicable Reorganized Debtor pursuant to section 365 of the
Bankruptcy Code and this Article V. Nothing in the Plan shall affect, impair, or prejudice the
rights of the insurance carriers, the insureds, or the Reorganized Debtors under the insurance
policies in any manner, and such insurance carriers, the insureds, and Reorganized Debtors shall
retain all rights and defenses under such insurance policies, subject to Section IV.F.

                                           ARTICLE VI

                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      Assumption of Executory Contracts and Unexpired Leases.

        On the Effective Date, all Executory Contracts and Unexpired Leases shall be deemed
assumed by the applicable Reorganized Debtor as of the Effective Date without the need for any
further notice to or action, order, or approval of the Bankruptcy Court under sections 365 and
1123 of the Bankruptcy Code, except for Executory Contracts or Unexpired Leases (1) that are
identified on the Rejected Contracts Schedule; (2) that previously expired or terminated pursuant
to their terms; (3) that the Debtors have previously assumed or rejected pursuant to a Final Order
of the Bankruptcy Court; (4) that are the subject of a motion to reject that remains pending as of


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the Confirmation Date; or (5) as to which the effective date of rejection will occur (or is
requested by the Debtors to occur) after the Confirmation Date.

        Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumption or rejection, as applicable, of Executory Contracts or Unexpired
Leases as set forth in the Plan or the Rejected Contracts Schedule, pursuant to sections 365 and
1123 of the Bankruptcy Code. Except as otherwise set forth herein, the assumption or rejection
of Executory Contracts and Unexpired Leases pursuant to the Plan shall be effective as of the
Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or a
Final Order of the Bankruptcy Court shall re-vest in and be fully enforceable by the applicable
contracting Reorganized Debtor in accordance with its terms, except as such terms may have
been modified by the provisions of the Plan or any Final Order of the Bankruptcy Court
authorizing and providing for its assumption. Any motions to assume Executory Contracts or
Unexpired Leases pending on the Confirmation Date shall be subject to approval by a Final
Order on or after the Confirmation Date but may be withdrawn, settled, or otherwise prosecuted
by the Reorganized Debtors.

         To the maximum extent permitted by law, to the extent that any provision in any
Executory Contract or Unexpired Lease assumed pursuant to the Plan restricts or prevents,
purports to restrict or prevent, or is breached or deemed breached by the assumption of such
Executory Contract or Unexpired Lease (including any “change of control” provision), then such
provision shall be deemed modified such that the transactions contemplated by the Plan shall not
entitle the non-Debtor party thereto to terminate such Executory Contract or Unexpired Lease or
to exercise any other default-related rights with respect thereto.

       B.      Rejection Damages Claims.

       Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
for Rejection Damages Claims, if any, must be filed within thirty (30) days after the later of (1)
the date of entry of an order of the Bankruptcy Court (including the Confirmation Order)
approving such rejection, (2) the effective date of such rejection, or (3) the Effective Date. Any
Rejection Damages Claim that is not timely filed shall be automatically Disallowed, forever
barred from assertion, and unenforceable against the Debtors or the Reorganized Debtors,
the Estates, or their property without the need for any objection by the Reorganized
Debtors or further notice to, or action, order, or approval of the Bankruptcy Court, and
any such Rejection Damages Claim shall be deemed fully satisfied, released, and
discharged, notwithstanding anything in the Proof of Claim to the contrary. All Allowed
Rejection Damages Claims shall be classified as Allowed General Unsecured Claims and treated
in accordance with Section III.B.6.

       C.      Cure of Defaults under Executory Contracts and Unexpired Leases.

       Not later than the date of filing of the Plan Supplement, the Debtors shall provide notices
of proposed Cure Amounts to the counterparties to the Executory Contracts and Unexpired
Leases proposed to be assumed under the Plan, which shall include a description of the
procedures for objecting to the Cure Amount, the ability of the Debtors to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code)


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under the Executory Contract or Unexpired Lease to be assumed, or any other matter pertaining
to assumption.

        Unless otherwise agreed in writing by the parties to the applicable Executory Contract or
Unexpired Lease, any objection by a counterparty to an Executory Contract or Unexpired
Lease to a proposed assumption or related Cure Amount must be filed, served, and actually
received by the counsel to the Debtors within ten (10) days of the service of assumption and
proposed Cure Amount, or such shorter period as agreed to by the parties or authorized by
the Bankruptcy Court. Any counterparty to an Executory Contract or Unexpired Lease that
fails to timely object to the proposed assumption or Cure Amount shall be deemed to have
assented to such assumption and Cure Amount and shall be forever barred, estopped, and
enjoined from contesting the Debtors’ assumption of the applicable Executory Contract or
Unexpired Lease and from requesting payment of a Cure Amount that differs from the amounts
paid or proposed to be paid by the Debtors or the Reorganized Debtors, in each case without the
need for any objection by the Debtors or the Reorganized Debtors or any further notice to or
action, order, or approval of the Bankruptcy Court. The Reorganized Debtors may settle any
Cure Amount without any further notice to or action, order, or approval of the Bankruptcy Court.

        The Debtors or the Reorganized Debtors, as applicable, shall pay undisputed Cure
Amounts, if any, on the Effective Date or as soon as reasonably practicable thereafter, or on such
other terms as the parties may agree. If there is any dispute regarding the Cure Amount, the
ability of the Debtors to provide “adequate assurance of future performance” (within the
meaning of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired
Lease to be assumed, or any other matter pertaining to assumption, then the Debtors or the
Reorganized Debtors, as applicable, shall pay the applicable Cure Amount as reasonably
practicable after entry of a Final Order resolving such dispute and approving such assumption, or
as may otherwise be agreed upon by the Debtors or the Reorganized Debtors, as applicable, and
the counterparty to the Executory Contract or Unexpired Lease. The payment of Cure Amounts
required by section 365(b)(1) of the Bankruptcy Code following the entry of a Final Order
resolving the dispute and approving the assumption and shall not prevent or delay
implementation of the Plan or the occurrence of the Effective Date.

        The Debtors’ assumption of any Executory Contract or Unexpired Lease pursuant to the
Plan or otherwise and payment of the applicable Cure Amount shall result in the full release and
satisfaction of any Claims or defaults, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease
at any time prior to the effective date of assumption. Any and all Proofs of Claim based upon
Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, shall be deemed Disallowed and expunged
as of the later of (1) the date of entry of an order of the Bankruptcy Court (including the
Confirmation Order) approving such assumption, (2) the effective date of such assumption
or (3) the Effective Date, in each case without the need for any objection by the Debtors or
the Reorganized Debtors or any further notice to or action, order, or approval of the
Bankruptcy Court.

       D.      Contracts and Leases Entered into After the Petition Date.


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      Contracts and leases entered into after the Petition Date by any Debtor, including any
Executory Contracts and Unexpired Leases assumed by such Debtor, will be performed by the
Debtor or Reorganized Debtor counterparty thereto in the ordinary course of its operations.
Accordingly, such contracts and leases (including any assumed Executory Contract and
Unexpired Leases) shall survive and remain unaffected by entry of the Confirmation Order.

       E.      Compensation and Benefits Programs.

       Other than those Compensation and Benefits Programs assumed by the Debtors prior to
entry of the Confirmation Order, all of the Compensation and Benefits Programs entered into
before the Petition Date and not since terminated shall be deemed to be, and shall be treated as
though they are, Executory Contracts under the Plan and deemed assumed under sections 365
and 1123 of the Bankruptcy Code, and the Debtors’ and Reorganized Debtors’ obligations under
the Compensation and Benefits Programs survive and remain unaffected by entry of the
Confirmation Order and be fulfilled in the ordinary course of the Debtors’ and Reorganized
Debtors’ operations. Compensation and Benefits Programs assumed by the Debtors prior to
entry of the Confirmation Order shall continue to be fulfilled in the ordinary course of the
Debtors’ non-profit operations from and after the date of any order of the Bankruptcy Court
authorizing the assumption of such Compensation and Benefits Program.

       F.      Workers’ Compensation Program.

        As of the Effective Date, the Debtors and the Reorganized Debtors shall continue to
honor their obligations under: (a) all applicable workers’ compensation laws in all applicable
states; and (b) the Workers’ Compensation Program. All Proofs of Claims on account of the
Workers’ Compensation Program shall be deemed withdrawn automatically and without any
further notice to or action, order, or approval of the Bankruptcy Court; provided, however, that
nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’
defenses, Causes of Action, or other rights under applicable non-bankruptcy law with respect to
the Workers’ Compensation Programs; provided further, however, that nothing herein shall be
deemed to impose any obligations on the Debtors or their insurers in addition to what is provided
for under the terms of the Workers’ Compensation Programs and applicable state law.

       G.      Indemnification Obligations.

        Notwithstanding anything in the Plan to the contrary, each Indemnification Obligation
shall be assumed by the applicable Debtor effective as of the Effective Date, pursuant to sections
365 and 1123 of the Bankruptcy Code or otherwise. Each Indemnification Obligation shall
remain in full force and effect, shall not be modified, reduced, discharged, impaired, or otherwise
affected in any way, and shall survive Unimpaired and unaffected, irrespective of when such
obligation arose. For the avoidance of doubt, this Section VI.G affects only the obligations of
the Debtors and Reorganized Debtors with respect to any Indemnification Obligations owed to or
for the benefit of past and present directors, officers, employees, attorneys, accountants,
investment bankers, and other professionals and agents of the Debtors, and shall have no effect
on nor in any way discharge or reduce, in whole or in part, any obligation of any other Person
owed to or for the benefit of such directors, officers, employees, attorneys, accountants,
investment bankers, and other professionals and agents of the Debtors.


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       H.      Local Council Charters.

        All charters granted to Local Councils before the Petition Date and not since revoked
shall be deemed to be, and shall be treated as though they are, Executory Contracts under the
Plan and deemed assumed under sections 365 and 1123 of the Bankruptcy Code.

       I.      Modifications, Amendments, Supplements, Restatements, or Other Agreements.

        Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that
is assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and
Executory Contracts and Unexpired Leases related thereto, if any, including easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests,
unless the Debtors reject or repudiate any of the foregoing agreements. Modifications,
amendments, and supplements to, or restatements of, prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not
be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
validity, priority, or amount of any Claims that may arise in connection therewith.

       J.      Reservation of Rights.

       Nothing contained in the Plan or the Plan Supplement shall constitute an admission by
the Debtors that a contract or lease is in fact an Executory Contract or Unexpired Lease or that
any Reorganized Debtor has any liability thereunder. If there is a dispute as of the Confirmation
Date regarding whether a contract or lease is or was executory or unexpired at the time of
assumption, the Debtors, or, after the Effective Date, the Reorganized Debtors, shall have thirty
(30) days following entry of a Final Order resolving such dispute to alter their treatment of such
contract or lease, including by rejecting such contract or lease nunc pro tunc to the Confirmation
Date.

                                          ARTICLE VII

                                        DISTRIBUTIONS

       A.      Distributions Generally.

       Except with respect to Trust Distributions on account of Abuse Claims and payment of
Trust Expenses, which shall be made in accordance with the terms of the Trust Documents, the
Reorganized Debtors shall make all distributions to the appropriate holders of Allowed Claims in
accordance with the terms of the Plan, including this Article VII.

       B.      Distribution Record Date.

        As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Debtors or their respective
agents shall be deemed closed for purposes of determining whether a holder of such a Claim or
Interest is a record holder entitled to a Plan Distribution, and there shall be no further changes in
the record holders or the permitted designees of any such Claims or Interests. The Debtors or the


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Reorganized Debtors, as applicable, shall have no obligation to recognize any transfer or
designation of such Claims or Interests occurring after the close of business on the Distribution
Record Date. With respect to payment of any Cure Amounts or assumption disputes, neither the
Debtors nor the Reorganized Debtors shall have any obligation to recognize or deal with any
party other than the non-Debtor party to the applicable Executory Contract or Unexpired Lease
as of the close of business on the Distribution Record Date, even if such non-Debtor party has
sold, assigned, or otherwise transferred its Claim for a Cure Amount.

       C.      Date of Plan Distributions.

        Except as otherwise provided in the Plan, any Plan Distributions shall be made on the
Effective Date or as otherwise determined in accordance with the Plan, including the treatment
provisions of Article III, or as soon as practicable thereafter; provided, however, that the
Reorganized Debtors shall from time to time determine subsequent distribution dates to the
extent they determine them to be appropriate; provided further, however, that the Reorganized
Debtors reserve their right to seek Bankruptcy Court approval of procedures and mechanisms for
Plan Distributions.

       D.      No Postpetition Interest on Claims.

        Except as otherwise provided in the Plan, the Confirmation Order, the Cash Collateral
Order, or another order of the Bankruptcy Court or required by the Bankruptcy Code (including
postpetition interest in accordance with sections 506(b) and 726(a)(5) of the Bankruptcy Code),
interest shall not accrue or be paid on any Claims on or after the Petition Date; provided,
however, that if interest is payable pursuant to the preceding sentence, interest shall accrue at the
federal judgment rate pursuant to 28 U.S.C. § 1961 on a non-compounded basis from the date the
obligation underlying the Claim becomes due and is not timely paid through the date of payment.

       E.      Undeliverable and Non-Negotiated Plan Distributions.

               1.      Undeliverable Plan Distributions.

        If any Plan Distribution to a holder of an Allowed Claim is returned to the Reorganized
Debtors as undeliverable, no further Plan Distributions shall be made to such holder unless and
until the Reorganized Debtors are notified in writing of such holder’s then-current address or
other necessary information for delivery, at which time such previously undeliverable Plan
Distribution shall be made to such holder within ninety (90) days of receipt of such holder’s
then-current address or other necessary information; provided, however, that any such
undeliverable Plan Distribution shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of 180 days after the date of the initial attempted Plan
Distribution. After such date, all unclaimed property or interests in property shall revert to the
Reorganized Debtors automatically and without the need for any notice to or further order of the
Bankruptcy Court (notwithstanding any applicable non-bankruptcy escheatment, abandoned, or
unclaimed property laws to the contrary), and the right, title, and interest of any holder to such
property or interest in property shall be discharged and forever barred.

               2.      Non-Negotiated Plan Distributions.



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       If any Plan Distribution to a holder of an Allowed Claim is not negotiated for a period of
180 days after the Plan Distribution, then such Plan Distribution shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code and re-vest in the applicable Reorganized
Debtor. After such date, all non-negotiated property or interests in property shall revert to the
Reorganized Debtors automatically and without the need for any notice to or further order of the
Bankruptcy Court (notwithstanding any applicable non-bankruptcy escheatment, abandoned, or
unclaimed property laws to the contrary), and the right, title, and interest of any holder to such
property or interest in property shall be discharged and forever barred.

       F.      Manner of Payment under the Plan.

       Except as otherwise specifically provided in the Plan, at the option of the Reorganized
Debtors, any Cash payment to be made hereunder may be made by a check or wire transfer or as
otherwise required or provided in applicable agreements or customary practices of the
Reorganized Debtors.

       G.      Satisfaction of Claims.

        Except as otherwise specifically provided in the Plan, any Plan Distributions and
deliveries to be made on account of Allowed Claims under the Plan shall be in complete and
final satisfaction, settlement, and discharge of and exchange for such Allowed Claims.

       H.      Minimum Cash Distributions.

        The Reorganized Debtors shall not be required to make any Plan Distribution of Cash
less than twenty dollars ($20) to any holder of an Allowed Claim; provided, however, that if any
Plan Distribution is not made pursuant to this Section VII.H, such distribution shall be added to
any subsequent Plan Distribution to be made on behalf of the holder’s Allowed Claim.

       I.      Setoffs and Recoupments.

        The Debtors or the Reorganized Debtors, as applicable, may, but shall not be required to,
set off or recoup against any Claim, and any Plan Distribution to be made on account of such
Claim, any and all claims, rights, and Causes of Action of any nature whatsoever that the
Debtors or the Reorganized Debtors may have against the holder of such Claim pursuant to the
Bankruptcy Code or applicable non-bankruptcy law; provided, however, that neither the failure
to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Debtor or Reorganized Debtor or its successor of any claims, rights, or Causes of Action that a
Debtor or Reorganized Debtor or its successor or assign may possess against the holder of such
Claim.

       J.      Allocation of Plan Distributions Between Principal and Interest.

       Except as otherwise required by law (as reasonably determined by the Reorganized
Debtors), Plan Distributions with respect to an Allowed Claim shall be allocated first to the
principal portion of such Allowed Claim (as determined for United States federal income tax
purposes) and, thereafter, to the remaining portion of such Allowed Claim, if any.



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       K.      No Plan Distribution in Excess of Amount of Allowed Claim.

       Except as provided in Section VII.D, no holder of an Allowed Claim shall receive, on
account of such Allowed Claim, Plan Distributions in excess of the Allowed amount of such
Claim.

       L.      Withholding and Reporting Requirements.

               1.      Withholding Rights.

        The Reorganized Debtors shall comply with all applicable withholding and reporting
requirements imposed by any federal, state, or local taxing authority, and all Plan Distribution
and all related agreements shall be subject to any such withholding or reporting requirements. In
the case of a non-Cash Plan Distribution that is subject to withholding, the Reorganized Debtors
may withhold an appropriate portion of such distributed property and either (i) sell such withheld
property to generate Cash necessary to pay over the withholding tax (or reimburse the
distributing party for any advance payment of the withholding tax), or (ii) pay the withholding
tax using its own funds and retain such withheld property. Any amounts withheld pursuant to
the preceding sentence shall be deemed to have been distributed to and received by the
applicable recipient for all purposes of the Plan. Notwithstanding the foregoing, each holder of
an Allowed Claim or any other Person that receives a Plan Distribution shall have responsibility
for any taxes imposed by any governmental unit, including income, withholding, and other taxes,
on account of such Plan Distribution. The Reorganized Debtors have the right, but not the
obligation, to not make a Plan Distribution until such holder has made arrangements satisfactory
to the Reorganized Debtors for payment of any such tax obligations.

               2.      Forms.

        Any Person entitled to receive any property as a Plan Distribution shall, upon request,
deliver to the Reorganized Debtors an appropriate Form W-9 or (if the payee is a foreign Entity)
Form W-8. If such request is made by the Reorganized Debtors and the holder fails to comply
before the earlier of (a) the date that is 180 days after the request is made and (b) the date that is
180 days after the date of distribution, the amount of such Plan Distribution shall irrevocably
revert to the applicable Reorganized Debtor and any Claim in respect of such Plan Distribution
shall be discharged and forever barred from assertion against such Reorganized Debtor or its
respective property.

       M.      Allowed Claims Paid by Third Parties.

       To the extent a holder receives a Plan Distribution on account of an Allowed Claim and
also receives payment from a party other than the Debtors or the Reorganized Debtors on
account of such Allowed Claim, such holder shall, within thirty (30) days of receipt thereof,
repay or return the Plan Distribution to the Reorganized Debtors, to the extent the holder’s total
recovery on account of such Allowed Claim from the third party and under the Plan exceeds the
amount of the Allowed Claim as of the date of any such Plan Distribution.

       N.      Claims for Indemnification Obligations.



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        All Proofs of Claim filed on account of an Indemnification Obligation to a current or
former director, officer, or employee shall be deemed satisfied and expunged from the claims
register as of the Effective Date to the extent such Indemnification Obligation is assumed (or
honored or reaffirmed, as the case may be) pursuant to the Plan, without any further notice to or
action, order, or approval of the Bankruptcy Court.

                                        ARTICLE VIII

                                      DISPUTED CLAIMS

       A.     Objections to Claims.

        The Reorganized Debtors shall exclusively be entitled to object to all Administrative
Expense Claims, Priority Tax Claims, Other Priority Claims, Other Secured Claims, and General
Unsecured Claims. The Victims Compensation Trustee shall exclusively be entitled to
administer and resolve Abuse Claims in accordance with the Trust Agreement and the Trust
Distribution Procedures. After the Effective Date, the Reorganized Debtors shall have and retain
any and all rights and defenses that the Debtors had with respect to any Claim to which they may
object, except with respect to any Claim that is Allowed. The Reorganized Debtors shall serve
and file any objection to a Proof of Claim on or before the Claims Objection Deadline; provided,
however, that the Victims Compensation Trustee shall administer the Abuse Claims on a
timeline determined by the Victims Compensation Trustee, in consultation with the Future
Claimants’ Representative and the Trust Advisory Committee, subject to approval by the
Bankruptcy Court. The expiration of the Claims Objection Deadline shall not limit or affect the
Debtors’ or Reorganized Debtors’ rights to dispute Claims asserted in the ordinary course of
business other than through a Proof of Claim.

       B.     Resolution of Disputed Administrative Expenses and Disputed Non-Abuse
Claims.

        On and after the Effective Date, the Reorganized Debtors shall have the authority to
prosecute and withdraw objections to, compromise, settle, or otherwise resolve Administrative
Expense Claims (other than with respect to Professional Fee Claims), Priority Tax Claims, Other
Priority Claims, and General Unsecured Claims without approval of the Bankruptcy Court. For
the avoidance of doubt, only the Victims Compensation Trustee shall have the authority to
administer and resolve Abuse Claims in accordance with the Trust Agreement and the Trust
Distribution Procedures.

       C.     Resolution of Abuse Claims.

       Abuse Claims shall be resolved in accordance with the Trust Documents, subject to the
provisions of Article IV and subject to the right of any Insurer to raise any Insurer Coverage
Defense in response to a demand by the Victims Compensation Trust that such Insurer handle,
defend, or pay any such Abuse Claim.

       D.     Payments and Distributions with Respect to Disputed Claims.




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        Notwithstanding anything herein to the contrary, if any portion of a Claim is a Disputed
Claim, no payment or distribution provided hereunder shall be made on account of such Claim
unless and until such Disputed Claim becomes an Allowed Claim.

       E.      Distributions After Allowance.

        After such time as a Disputed Claim becomes, in whole or in part, an Allowed Claim, the
holder thereof shall be entitled to Plan Distributions, if any, to which such holder is then entitled
as provided in the Plan, without interest, as provided in Section VIII.I. Such Plan Distributions
shall be made as soon as practicable after the date that the order or judgment of the Bankruptcy
Court Allowing such Disputed Claim (or portion thereof) becomes a Final Order.

       F.      Estimation of Claims.

        The Debtors or the Reorganized Debtors, with respect to contingent, unliquidated, and/or
Disputed Administrative Expense Claims, Priority Tax Claims, Other Priority Claims, Other
Secured Claims, and General Unsecured Claims, may at any time request that the Bankruptcy
Court estimate any such contingent, unliquidated, or Disputed Claim or Class of Claims pursuant
to section 502(c) of the Bankruptcy Code or otherwise, including to establish a reserve for Plan
Distribution purposes, regardless of whether the Debtors, the Reorganized Debtors, or any other
Person had previously objected to such Claim or whether the Bankruptcy Court has ruled on any
such objection. The Bankruptcy Court will retain jurisdiction to estimate any Claim or Class of
Claims at any time during litigation concerning any objection to any Claim, including during the
pendency of any appeal relating to any such objection. In the event that the Bankruptcy Court
estimates any contingent, unliquidated, or Disputed Claim or Class of Claims, the amount so
estimated shall constitute either the Allowed amount of such Claim or Class of Claims, or a
maximum limitation on such Claim or Class of Claims, as determined by the Bankruptcy Court.
If the estimated amount constitutes a maximum limitation on the amount of such Claim or Class
of Claims, the Debtors or the Reorganized Debtors, as applicable, may pursue supplementary
proceedings to object to the allowance of such Claims; provided, however, that such limitation
shall not apply to Claims requested by the Debtors to be estimated for voting purposes only.

       G.      No Distributions Pending Allowance.

        If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
Plan Distribution shall be made on account of such Claim unless and until (and only to the extent
that) such Claim becomes an Allowed Claim.

       H.      Claims Resolution Procedures Cumulative.

      All of the objection, estimation, and resolution procedures in the Plan are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Plan without further notice or
Bankruptcy Court approval.

       I.      Interest.




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        To the extent that a Disputed Claim becomes an Allowed Claim after the Effective Date,
the holder of such Claim shall not be entitled to any interest that accrued thereon from and after
the Effective Date, except as provided in Section VII.D.

        J.     Insured Non-Abuse Claims.

        To the extent that an Insurer satisfies an Insured Non-Abuse Claim in whole or in part
(based on either a settlement or judgment), then immediately upon such satisfaction, the portion
of such Claim so satisfied may be expunged without an objection to such Claim having to be
filed and without any further notice to or action, order or approval of the Court.

                                          ARTICLE IX

                    CONFIRMATION AND CONSUMMATION OF PLAN

        A.     Conditions Precedent to Confirmation.

       Confirmation of the Plan shall not occur unless all of the following conditions precedent
have been satisfied:

               1.      the Confirmation Order is in form and substance acceptable to the
Debtors;

                2.      the Confirmation Order shall approve and implement the Channeling
Injunction set forth in Article X.D; and

               3.      the Plan Documents shall be in form and substance acceptable to the
Debtors.

        B.     Conditions Precedent to the Effective Date.

       The Effective Date shall not occur unless all of the following conditions precedent have
been satisfied, unless waived in accordance with Section IX.C:

              1.      the Confirmation Order, in form and substance acceptable to the Debtors,
shall have been entered by the Bankruptcy Court, shall have become a Final Order, and shall
have been adopted, affirmed, issued or ratified by the District Court;

              2.      the Trust Agreement and the Trust Distribution Procedures shall have
become effective in accordance with the terms of the Plan;

               3.      the Trust shall have been established and funded in accordance with the
Plan;

               4.      the Debtors shall have obtained all authorizations, consents, certifications,
approvals, rulings, opinions or other documents that are necessary to implement and effectuate
the Plan;




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                5.     all actions, documents, and agreements necessary to implement and
effectuate the Plan shall have been effected or executed; and

               6.      the Debtors shall have filed a notice of occurrence of the Effective Date.

       C.      Waiver of Conditions Precedent to the Effective Date.

        Except for the condition precedent set forth in Section IX.B.1, each of the conditions
precedent to the occurrence of the Effective Date set forth in Section IX.B may be waived in
whole or in part by the Debtors without notice to or leave or order of the Bankruptcy Court or
any formal action other than proceedings to confirm or consummate the Plan. The failure to
satisfy any condition precedent to the Confirmation Date or satisfy or waive any condition
precedent to the Effective Date may be asserted by the Debtors regardless of the circumstances
giving rise to the failure of such condition to be satisfied.

       D.      Vacatur of Confirmation Order; Non-Occurrence of Effective Date.

        If the Confirmation Order is vacated or the Effective Date does not occur within 180 days
after entry of the Confirmation Order (subject to extension by the Debtors in their sole
discretion), the Plan shall be null and void in all respects and nothing contained in the Plan or the
Disclosure Statement shall (1) constitute a waiver or release of any Causes of Action by or
Claims against or Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors,
any holders of a Claim or Interest or any other Person; (3) constitute an admission,
acknowledgment, offer, or undertaking by the Debtors, any holders, or any other Person in any
respect; or (4) be used by the Debtors or any other Person as evidence (or in any other way) in
any litigation, including with respect to the strengths and weaknesses of positions, arguments or
claims of any of the parties to such litigation.

                                           ARTICLE X

                            EFFECT OF PLAN CONFIRMATION

       A.      Binding Effect.

        As of the Effective Date, all provisions of the Plan, including all agreements, instruments
and other documents filed in connection with the Plan by the Debtors or the Reorganized
Debtors, the Victims Compensation Trust, the Protected Parties, shall be binding upon the
Debtors, the Estates, the Reorganized Debtors, all holders of Claims against and Interests in the
Debtors, each such holder’s respective successors and assigns, and all other Persons that are
affected in any manner by the Plan, regardless of whether the Claim or Interest of such holder is
Impaired under the Plan and whether such holder has accepted the Plan. Except as otherwise
expressly provided in the Plan, all agreements, instruments and other documents filed in
connection with the Plan shall be given full force and effect and shall bind all Persons referred to
therein on and after the Effective Date, whether or not such agreements are actually issued,
delivered or recorded on or after the Effective Date and whether or not such Persons have
actually executed such agreement.

       B.      Pre-Confirmation Injunctions and Stays.


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        All injunctions and stays arising under or entered during the Chapter 11 Cases, whether
under sections 105 or 362 of the Bankruptcy Code or otherwise, and in existence on the
Confirmation Date, shall remain in full force and effect until the later of the Effective Date and
the date indicated in the order providing for such injunction or stay, if any.

       C.      Discharge.

               1.      Discharge of the Debtors.

         Except as expressly provided in the Plan or the Confirmation Order, all consideration
distributed under the Plan shall be in exchange for, and in complete satisfaction, settlement,
discharge, termination and release of, all Claims and Interests of any nature whatsoever against
or in the Debtors or any of their assets or properties based upon any act, omission, transaction,
occurrence, or other activity of any nature that occurred prior to the Effective Date, and, as of the
Effective Date, each of the Debtors shall be deemed discharged and released, and each holder of
a Claim or Interest and any successor, assign, and affiliate of such holder shall be deemed to
have forever waived, discharged and released each of the Debtors, to the fullest extent permitted
by section 1141 of the Bankruptcy Code, of and from any and all Claims, Interests, rights and
liabilities, and all debts of the kind specified in section 502 of the Bankruptcy Code, based upon
any act, omission, transaction, occurrence, or other activity of any nature that occurred prior to
the Effective Date, in each case whether or not (a) a Proof of Claim based upon such debt is filed
or deemed filed under section 501 of the Bankruptcy Code, (b) a Claim based upon such debt is
Allowed under section 502 of the Bankruptcy Code, (c) a Claim based upon such debt is or has
been Disallowed by order of the Bankruptcy Court, or (d) the holder of a Claim based upon such
debt is deemed to have accepted the Plan.

               2.      Discharge Injunction.

        As of the Effective Date, except as expressly provided in the Plan or the Confirmation
Order, all holders of Claims of any nature whatsoever against or in the Debtors or any of their
assets or properties based upon any act, omission, transaction, occurrence, or other activity of
any nature that occurred prior to the Effective Date shall be precluded and permanently enjoined
from prosecuting or asserting any such discharged Claim against the Debtors or the Reorganized
Debtors or the property of the Debtors or the Reorganized Debtors. In accordance with the
foregoing, except as expressly provided in the Plan or the Confirmation Order, the Confirmation
Order shall be a judicial determination of discharge or termination of all Claims, Interests and
other debts and liabilities against or in the Debtors pursuant to sections 105, 524 and 1141 of the
Bankruptcy Code, and such discharge shall void any judgment obtained against the Debtors at
any time to the extent such judgment relates to a discharged Claim.

       D.      Channeling Injunction.

               1.      Terms.

       To preserve and promote the settlements contemplated by and provided for in the
Plan and to supplement, where necessary, the injunctive effect of the discharge as provided
in sections 1141 and 524 of the Bankruptcy Code and as described in this Article X,
pursuant to the exercise of the equitable jurisdiction and power of the Bankruptcy Court

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and the District Court under section 105(a) of the Bankruptcy Code, all Persons that have
held or asserted, currently hold or assert, or that may in the future hold or assert, any
Abuse Claim against the Protected Parties, or any of them, shall be permanently and
forever stayed, restrained and enjoined from taking any action for the purpose of directly
or indirectly collecting, recovering, or receiving payments, satisfaction, or recovery from
any Protected Party with respect to any such Abuse Claim, including:

                    a.     commencing, conducting, or continuing, in any manner,
                           whether directly or indirectly, any suit, action, or other
                           proceeding of any kind in any forum with respect to any such
                           Abuse Claim against any Protected Party or any property or
                           interest in property of any Protected Party;

                    b.     enforcing, levying, attaching, collecting or otherwise
                           recovering, by any manner or means, either directly or
                           indirectly, any judgment, award, decree, or other order against
                           any Protected Party or any property or interest in property of
                           any Protected Party with respect to any such Abuse Claim;

                    c.     creating, perfecting, or enforcing in any manner, whether
                           directly or indirectly, any Lien or Encumbrance of any kind
                           against any Protected Party or any property or interest in
                           property of any Protected Party with respect to any such
                           Abuse Claim;

                    d.     asserting or accomplishing any setoff, right of subrogation,
                           indemnity, contribution, or recoupment of any kind, whether
                           directly or indirectly, against any obligation due to any
                           Protected Party or any property or interest in property of any
                           Protected Party with respect to any such Abuse Claim; and

                    e.     taking any act, in any manner, in any place whatsoever, that
                           does not conform to, or comply with, the provisions of the Plan
                           Documents with respect to any such Abuse Claim.

             2.     Reservations.

       Notwithstanding anything to the contrary in this Section X.D, the Channeling
Injunction shall not enjoin:

                    a.     the right of any Person to the treatment afforded to such
                           Person under the Plan, including the rights of holders of Abuse
                           Claims to assert such Abuse Claims in accordance with the
                           Trust Documents solely against the Victims Compensation
                           Trust;




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                      b.     the right of any Person to assert any Claim for payment of
                             Trust Expenses solely against the Victims Compensation
                             Trust;

                      c.     the Victims Compensation Trust from enforcing its rights
                             under the Trust Documents; or

                      d.     the rights of the Victims Compensation Trust and the
                             Reorganized Debtors (to the extent permitted or required
                             under the Plan) to prosecute any action against the Insurers
                             based on or arising from the Insurance Policies.

       E.     Provisions Relating to Channeling Injunctions.

              1.      Modifications.

       There can be no modification, dissolution, or termination of the Channeling Injunction,
which shall be a permanent injunction.

              2.      Non-Limitation.

        Nothing in the Plan or the Trust Documents shall or shall be construed in any way to
limit the scope, enforceability, or effectiveness of the Channeling Injunction or the Victims
Compensation Trust’s assumption of all liability with respect to Abuse Claims.

              3.      Bankruptcy Rule 3016 Compliance.

        The Debtors’ compliance with the requirements of Bankruptcy Rule 3016 shall not
constitute or be deemed to constitute an admission that the Plan provides for an injunction
against conduct not otherwise enjoined under the Bankruptcy Code.

              4.      No Duplicative Recovery.

       In no event shall any holder of an Abuse Claim be entitled to receive any duplicative
payment, reimbursement, or restitution from any Protected Party under any theory of liability for
the same loss, damage, or other Claim that is reimbursed by the Victims Compensation Trust or
is otherwise based on the same events, facts, maters, or circumstances that gave rise to the
applicable Abuse Claim.

              5.      District Court Approval.

        The Debtors shall seek an order of the District Court approving (a) the Channeling
Injunction and the Victims Compensation Trust’s assumption of all liability with respect to
Abuse Claims and (b) the releases by holders of Abuse Claims for the benefit of the Protected
Parties, each as set forth in this Article X.




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       F.     Injunction Against Interference with Plan.

      Upon entry of the Confirmation Order, all holders of Claims and Interests shall be
precluded and enjoined from taking any actions to interfere with the implementation and
consummation of the Plan.

       G.     Releases.

              1.     Releases by the Debtors.

       As of the Effective Date, except for the rights that remain in effect from and after
the Effective Date to enforce the Plan and the Confirmation Order, pursuant to section
1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Released Parties to facilitate and
implement the reorganization of the Debtors, as an integral component of the Plan, the
Debtors, the Reorganized Debtors, and the Estates shall, and shall be deemed to, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever release and discharge
each and all of the Released Parties of and from any and all Causes of Action (including
Avoidance Actions), any and all other Claims, Interests, obligations, rights, demands, suits,
judgments, damages, debts, remedies, losses and liabilities of any nature whatsoever
(including any derivative claims or Causes of Action asserted or that may be asserted on
behalf of the Debtors, the Reorganized Debtors, or the Estates), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, contract, tort or otherwise, based
on or relating to, or in any manner arising from, in whole or in part, any act, omission,
transaction, event, or other circumstance taking place or existing on or before the Effective
Date (including before the Petition Date) in connection with or related to the Debtors, the
Reorganized Debtors, the Estates, their respective assets and properties, the Chapter 11
Cases, the Plan Documents, and any related agreements, instruments, and other documents
created or entered into before or during the Chapter 11 Cases, the pursuit of Confirmation,
the administration and implementation of the Plan, including the distribution of property
under the Plan, or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date related or relating to the foregoing. Notwithstanding anything to the contrary in the
foregoing, the releases set forth in this Section X.G.1 shall not be construed as (a) releasing
any Released Party from Causes of Action arising from an act or omission that is judicially
determined by a Final Order to have constituted fraud, gross negligence or willful
misconduct or (b) releasing any post-Effective Date obligations of any Person under the
Plan or any document, instrument, or agreement executed to implement the Plan or
Reinstated under the Plan.

              2.     Releases by Holders of Abuse Claims.

       As of the Effective Date, except for the rights that remain in effect from and after
the Effective Date to enforce the Plan and the Confirmation Order, pursuant to section
1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Released Parties to facilitate and


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implement the reorganization of the Debtors, as an integral component of the Plan, and
except as otherwise expressly provided in the Plan or the Confirmation Order, to the
maximum extent permitted under applicable law, as such law may be extended subsequent
to the Effective Date, all holders of Abuse Claims shall, and shall be deemed to, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever discharge and release
each and all of the Protected Parties and their respective property and successors and
assigns of and from all Abuse Claims and any and all Claims and Causes of Action
whatsoever, whether known or unknown, asserted or unasserted, derivative or direct,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, whether
for tort, fraud, contract, veil piercing or alter-ego theories of liability, successor liability,
contribution, indemnification, joint liability, or otherwise, arising from or related in any
way to such Abuse Claims.

       H.     Exculpation.

        From and after the Effective Date, the Exculpated Parties shall neither have nor
incur any liability to, or be subject to any right of action by, any Person for any act,
omission, transaction, event, or other circumstance in connection with or related to the
Debtors, the Reorganized Debtors, the Estates, their respective assets and properties, the
Chapter 11 Cases, the Plan Documents, the pursuit of Confirmation, the administration
and implementation of the Plan, including the distribution of property under the Plan, or
any other related agreement, or upon any other act or omission, transaction, agreement,
event, or other occurrence related or relating to the foregoing; provided, however, that this
Section X.H shall not apply to release (a) obligations under the Plan or any contracts,
instruments, releases, agreements, and documents delivered, Reinstated or assumed under
the Plan, (b) any Claims or Causes of Action arising from or related to an act or omission
that is judicially determined by a Final Order to have constituted fraud, gross negligence
or willful misconduct, or (c) any Claims or Causes of Action against the Debtors or the
Reorganized Debtors that are Reinstated under the Plan or otherwise survive the Effective
Date.

       I.     Injunctions Related to Releases and Exculpation.

              1.      Injunction Related to Releases.

       As of the Effective Date, all holders of Claims that are the subject of Section X.G.2
are, and shall be, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever stayed, restrained, prohibited, barred and enjoined from taking any of the
following actions against any Released Party or its property or successors or assigns on
account of or based on the subject matter of such Claims, whether directly or indirectly,
derivatively or otherwise: (a) commencing, conducting or continuing in any manner,
directly or indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including,
without limitation, any prejudgment attachment), collecting, or in any way seeking to
recover any judgment, award, decree, or other order; (c) creating, perfecting or in any way
enforcing in any matter, directly or indirectly, any Lien or Encumbrance; and/or (d)
setting off, seeking reimbursement or contributions from, or subrogation against, or


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otherwise recouping in any manner, directly or indirectly, any amount against any liability
or obligation that is discharged under Section X.C or released under Section X.G.2.

              2.      Injunction Related to Exculpation.

       As of the Effective Date, all holders of Claims that are the subject of Section X.H
are, and shall be, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever stayed, restrained, prohibited, barred and enjoined from taking any of the
following actions against any Exculpated Party and, solely to the extent provided by section
1125(e) of the Bankruptcy Code, any Section 1125(e) Party or its or their property or
successors or assigns on account of or based on the subject matter of such Claims, whether
directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing
in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing,
attaching (including any prejudgment attachment), collecting, or in any way seeking to
recover any judgment, award, decree, or other order; (c) creating, perfecting or in any way
enforcing in any matter, directly or indirectly, any Lien or Encumbrance; and/or (d)
setting off, seeking reimbursement or contributions from, or subrogation against, or
otherwise recouping in any manner, directly or indirectly, any amount against any liability
or obligation that is discharged under Section X.C or released under Section X.H.

       J.     Reservation of Rights.

        Notwithstanding any other provision of the Plan to the contrary, no provision of this
Article X shall be deemed or construed to satisfy, discharge, release or enjoin claims by the
Victims Compensation Trust, the Reorganized Debtors, or (subject to Article IV) any other
Person, as the case may be, against (1) the Victims Compensation Trust for payment of Abuse
Claims in accordance with the Trust Distribution Procedures, (2) the Victims Compensation
Trust for the payment of Trust Expenses, or (3) any Insurer that has not performed under an
Insurance Policy or an Insurance Settlement Agreement.

       K.     Disallowed Claims.

        On and after the Effective Date, the Debtors and the Reorganized Debtors shall be fully
and finally discharged of any and all liability or obligation on any and all Disallowed Claims,
and any Order Disallowing a Claim that is not a Final Order as of the Effective Date solely
because of a Person’s right to move for reconsideration of such Order pursuant to section 502 of
the Bankruptcy Code or Bankruptcy Rule 3008 shall nevertheless become and be deemed to be a
Final Order on the Effective Date. The Confirmation Order, except as otherwise provided
herein, shall constitute an Order: (a) Disallowing all Claims (other than Abuse Claims) to the
extent such Claims are not allowable under any provision of Section 502 of the Bankruptcy
Code, including time-barred Claims, and Claims for unmatured interest and (b) in relation to
each Debtor, Disallowing or subordinating to all other Claims, as the case may be, any Claims
for penalties, punitive damages or any other damages not constituting compensatory damages.




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                                          ARTICLE XI

                              RETENTION OF JURISDICTION

       A.      General Retention.

         Until the Chapter 11 Cases are closed, the Bankruptcy Court shall retain jurisdiction over
all matters arising out of, and related to, the Chapter 11 Cases and the Plan pursuant to, and for
the purposes of, sections 105(c) and 1142 of the Bankruptcy Code to the fullest extent permitted
by law, including the jurisdiction necessary to ensure that the purposes and the intent of the Plan
are carried out. Following Confirmation, the administration of the Chapter 11 Cases will
continue until the Chapter 11 Cases are closed by a Final Order of the Bankruptcy Court. The
Bankruptcy Court shall also retain jurisdiction for the purpose of classification of any Claims and
the re-examination of Abuse Claims and Claims that have been Allowed for purposes of voting,
and the determination of such objections as may be filed with the Bankruptcy Court with respect
to any Claims. The failure by the Debtors to object to, or examine, any Claim for the purposes of
voting, shall not be deemed a waiver of the rights of the Debtors, the Reorganized Debtors or the
Victims Compensation Trust, as the case may be, to object to or re-examine such Claim in whole
or part.

       B.      Specific Purposes.

        In addition to the foregoing, the Bankruptcy Court shall retain jurisdiction for each of the
specific purposes enumerated in this Section XI.B after Confirmation of the Plan.
Notwithstanding entry of the Confirmation Order and the occurrence of the Effective Date, the
Bankruptcy Court shall retain jurisdiction over all matters arising out of, and related to, the
Chapter 11 Cases and the Plan pursuant to, and for the purposes of, sections 105(c) and 1142 of
the Bankruptcy Code and to the fullest extent permitted by law, including the following
purposes:

             1.     to modify the Plan after Confirmation pursuant to the provisions of the
Bankruptcy Code and the Bankruptcy Rules;

               2.     to correct any defect, cure any omission, reconcile any inconsistency or
make any other necessary changes or modifications in or to the Plan, the Trust Documents or the
Confirmation Order as may be necessary to carry out the purposes and intent of the Plan,
including the adjustment of the date(s) of performance in the Plan in the event the Effective Date
does not occur as provided herein so that the intended effect of the Plan may be substantially
realized thereby;

                3.       to enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason or in any respect modified, stayed, reversed, revoked or
vacated, or if distributions pursuant to the Plan or the Trust Documents are enjoined or stayed;

             4.     to hear and determine all applications for compensation of Professionals
and reimbursement of expenses under sections 328, 330, 331 and/or 503(b) of the Bankruptcy
Code;


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               5.      to hear and determine any Causes of Action arising during the period from
the Petition Date to the Effective Date, or in any way related to the Plan or the transactions
contemplated hereby, against the Debtors, the Reorganized Debtors, the Victims Compensation
Trust, the Victims Compensation Trustee, or the Official Committees or the Future Claimants’
Representative and their respective officers, directors, employees, members, attorneys,
accountants, financial advisors, representatives and agents;

              6.     to determine any and all motions, including motions pending as of
Confirmation, for the rejection, assumption or assumption and assignment of Executory
Contracts or Unexpired Leases and the Allowance of any Claims resulting therefrom;

              7.      to hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code;

               8.     to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

                9.      to determine any and all motions, adversary proceedings, contested or
litigated matters, and any other matters and grant or deny any applications involving the Debtors
that may be pending on the Effective Date (which jurisdiction shall be non-exclusive as to any
such non-core matters);

               10.    to determine the Allowance and/or Disallowance of any Claims against the
Debtors or their Estates, including any objections to any such Claims and the compromise and
settlement of any Claim against the Debtors or their Estates;

               11.     to determine all questions and disputes regarding title to the assets of the
Debtors or their Estates or the Trust Assets;

               12.    to ensure that Plan Distributions to holders of Allowed Claims and that
Trust Distributions to holders of Abuse Claims are accomplished pursuant to the provisions of
the Plan and adjudicate any and all disputes relating to distributions under the Plan or the Trust
Documents;

              13. to construe, enforce and resolve all questions and disputes relating to
employment agreements existing or approved by the Bankruptcy Court at or before
Confirmation;

                14.     to hear and determine the Insurance Actions and to determine all questions
and issues arising thereunder. Notwithstanding anything herein to the contrary, however, such
retention of jurisdiction by the Bankruptcy Court in this Section XI.B.14 shall not be deemed to
be a retention of exclusive jurisdiction with respect to any matter described in this Section
XI.B.14; rather, any court other than the Bankruptcy Court that has jurisdiction over any matter
described in this Section XI.B.14 shall have the right to exercise such jurisdiction;




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              15.     to hear and determine any matters related to the Victims Compensation
Trust’s indemnification obligations under Article IV and the Trust Documents;

             16.     to hear and determine any other matters related hereto, including the
implementation and enforcement of all orders entered by the Bankruptcy Court in the Chapter 11
Cases;

               17.     to enter in aid of implementation of the Plan such orders as are necessary,
including orders in aid of the implementation and enforcement of the releases, the Channeling
Injunction, and the other injunctions described herein;

                18.     to enter and implement such orders as may be necessary or appropriate if
any aspect of the Plan, the Victims Compensation Trust or the Confirmation Order is, for any
reason or in any respect, determined by a court to be inconsistent with, to violate, or to be
insufficient to satisfy any of the terms, conditions, or other duties associated with any Insurance
Policies; provided, however, that (a) such orders shall not impair the Insurer Coverage Defenses
or the rights, claims or defenses, if any, of any Insurer that are set forth or provided for in the
Plan, the Plan Documents, the Confirmation Order, or any other orders entered in the Chapter 11
Cases and (b) the rights of all interested parties, including any Insurer, are reserved to oppose or
object to any such motion or order seeking such relief; and

               19.     to enter a Final Order or decree concluding or closing the Chapter 11
Cases.

To the extent that the Bankruptcy Court is not permitted under applicable law to preside over any
of the foregoing matters, the reference the “Bankruptcy Court” in this Article XI shall be deemed
to be replaced by the “District Court.”

                                         ARTICLE XII

                              MISCELLANEOUS PROVISIONS

         A.    Substantial Consummation of the Plan.

       On the Effective Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

         B.    Amendment or Modification of the Plan.

               1.      Plan Modifications.

        The Debtors reserve the right, in accordance with the Bankruptcy Code and the
Bankruptcy Rules, to amend or modify the Plan prior to the entry of the Confirmation Order,
including amendments or modifications to satisfy section 1129(b) of the Bankruptcy Code, and
after entry of the Confirmation Order, the Debtors may, upon order of the Court, amend, modify
or supplement the Plan in the manner provided for by section 1127 of the Bankruptcy Code or as
otherwise permitted by law, in each case without additional disclosure pursuant to section 1125


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of the Bankruptcy Code. In addition, after the Confirmation Date, so long as such action does
not materially and adversely affect the treatment of holders of Allowed Claims pursuant to the
Plan, the Debtors may remedy any defect or omission or reconcile any inconsistencies in the Plan
or the Confirmation Order with respect to such matters as may be necessary to carry out the
purposes or effects of the Plan, and any holder of a Claim that has accepted the Plan shall be
deemed to have accepted the Plan as amended, modified, or supplemented.

               2.      Other Amendments.

       Before the Effective Date, the Debtors may make appropriate technical adjustments and
modifications to the Plan and the documents contained in the Plan Supplement without further
order or approval of the Bankruptcy Court.

       C.      Effectuating Documents and Further Transactions.

       Each of the officers, managers, or members of the Debtors or the Reorganized Debtors or
the Victims Compensation Trustee is authorized to execute, deliver, file, or record such
contracts, instruments, releases, indentures, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan.

       D.      Successors and Assigns.

        The rights, benefits and obligations of any Person named or referred to in the Plan or the
Confirmation Order shall be binding on, and shall inure to the benefit of, any heir, executor,
guardian, agent, representative, administrator, successor, or permitted assign, if any, of each such
Person.

       E.      Revocation or Withdrawal of Plan.

        The Debtors reserve the right to revoke or withdraw the Plan prior to the Effective Date.
If the Plan has been revoked or withdrawn prior to the Effective Date, or if confirmation or the
occurrence of the Effective Date does not occur, then: (1) the Plan shall be null and void in all
respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting
to an amount any Claim or Interest or Class of Claims or Interests), assumption of executory
contracts or unexpired leases affected by the Plan, and any document or agreement executed
pursuant to the Plan, including the Trust Documents, shall be deemed null and void; and (3)
nothing contained in the Plan shall (i) constitute a waiver or release of any Claim by or against,
or any Interest in, the Debtors or any other Person; (ii) prejudice in any manner the rights of the
Debtors or any other Person; or (iii) constitute an admission of any sort by the Debtors or any
other Person.

       F.      The Official Committees and the Future Claimants’ Representative.

        Except as set forth below, the Official Committees and the Future Claimants’
Representative shall continue in existence until the Effective Date. After the Effective Date, the
rights, duties and responsibilities of the Future Claimants’ Representative shall be as set forth in


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the Trust Agreement. On the Effective Date, the Official Committees shall dissolve and, as of
the Effective Date, each member (including each officer, director, employee, or agent thereof) of
the Official Committees and each Professional retained by the Official Committees shall be
released and discharged from all rights, duties, responsibilities, and obligations arising from, or
related to, the Debtors, its membership on the Official Committees, the Plan, or the Chapter 11
Cases, except with respect to any matters concerning any Professional Fee Claims held or
asserted by any Professional retained by the Official Committees. For the avoidance of doubt,
neither the Debtors nor the Reorganized Debtors shall have any obligation to pay any fees or
expenses of any Professional retained by the Official Committees or the Future Claimants’
Representative that are earned or incurred on or after the Effective Date. Nor shall the Debtors
or the Reorganized Debtors have any obligation to pay fees or expenses of any Professional
retained by the Official Committees or the Future Claimants’ Representative that are earned or
incurred before the Effective Date to the extent such fees or expenses (or any portion thereof)
qualify as Trust Expenses, in which case such fees and expenses (or the applicable portion
thereof) shall be paid by the Victims Compensation Trust in accordance with the Trust
Agreement.

       G.      Request for Expedited Determination of Taxes.

        The Debtors and the Reorganized Debtors, as applicable, shall have the right to request
an expedited determination under section 505(b) of the Bankruptcy Code with respect to tax
returns filed, or to be filed, for any and all taxable periods ending after the Petition Date to and
including the Effective Date.

       H.      Non-Severability of Plan Provisions.

         If, before the entry of the Confirmation Order, any term or provision of the Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the
request of the Debtors, shall have the power to alter and interpret such term or provision to make
it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration, or
interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
effect and will in no way be affected, impaired or invalidated by such holding, alteration, or
interpretation. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (1) valid and enforceable pursuant to its terms, (2) integral to
the Plan and may not be deleted or modified without the consent of the Debtors or the
Reorganized Debtors (as the case may be), and (3) nonseverable and mutually dependent.

       I.      Governing Law.

        Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement, an Exit Facility Document, or any
other Plan Document provides otherwise, the rights, duties, and obligations arising under the
Plan shall be governed by, and construed and enforced in accordance with, the laws of the State
of Delaware, without giving effect to the principles of conflict of laws thereof; provided,


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however, that governance matters relating to the Reorganized BSA shall be governed by the laws
of the District of Columbia.

       J.      Immediate Binding Effect.

       Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan (including the Plan Supplement) shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of the
Debtors, the holders of Claims and Interests, the Released Parties, and each of their respective
successors and assigns, including the Reorganized Debtors.

       K.      Computation of Time.

        In computing any period of time prescribed or allowed by the Plan, unless otherwise
expressly provided herein, the provisions of Bankruptcy Rule 9006(a) shall apply. In the event
that any payment, distribution, act or deadline under the Plan is required to be made or
performed or occurs on a day that is not a Business Day, then such payment, distribution, act or
deadline shall be deemed to occur on the next succeeding Business Day, but if so made,
performed or completed by such next succeeding Business Day, shall be deemed to have been
completed or to have occurred as of the required date.

       L.      Deemed Acts.

        Whenever an act or event is expressed under the Plan to have been deemed done or to
have occurred, it shall be deemed to have been done or to have occurred by virtue of the Plan
and/or the Confirmation Order without any further act by any Person.

       M.      Entire Agreement.

        The Plan Documents set forth the entire agreement and undertakings relating to the
subject matter thereof and supersede all prior discussions, negotiations, understandings and
documents. No Person shall be bound by any terms, conditions, definitions, warranties,
understandings, or representations with respect to the subject matter hereof, other than as
expressly provided for in the Plan or the other Plan Documents or as may hereafter be agreed to
by the affected parties in writing.

       N.      Exhibits to Plan.

      All exhibits, schedules, supplements, and appendices to the Plan (including the Plan
Supplement) are incorporated into and are a part of the Plan as if set forth in full herein.

       O.      Notices.

        All notices, requests, and demands to or upon the Debtors or the Reorganized Debtors to
be effective shall be in writing (including by email transmission) and, unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually delivered,
addressed as follows:


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              1.      If to the Debtors or the Reorganized Debtors, to:

                      Boy Scouts of America
                      1325 W. Walnut Hill Lane
                      Irving, Texas 75015
                      Attn: Steven McGowan, Secretary and General Counsel
                      Email: Steve.McGowan@scouting.org

                      with copies to:

                      Sidley Austin LLP
                      One South Dearborn Street
                      Chicago, Illinois 60603
                      Attn: Matthew E. Linder
                      Email: mlinder@sidley.com

                      – and –

                      Sidley Austin LLP
                      787 Seventh Avenue
                      New York, New York 10019
                      Attn: Jessica C. K. Boelter
                      Email: jboelter@sidley.com

                      – and –

                      Morris, Nichols, Arsht & Tunnell LLP
                      1201 North Market Street, 16th Floor
                      P.O. Box 1347
                      Wilmington, Delaware 19899-1347
                      Attn: Derek C. Abbott
                      Email: dabbott@mnat.com

        After the Effective Date, the Reorganized Debtors are authorized to send a notice to any
Person providing that, to continue to receive documents filed in the Chapter 11 Cases pursuant to
Bankruptcy Rule 2002, such Person must file a renewed request to receive documents pursuant
to Bankruptcy Rule 2002. After the Effective Date, the Reorganized Debtors are authorized to
limit the list of Persons receiving documents pursuant to Bankruptcy Rule 2002 to such Persons
who have filed such renewed requests.



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Dated: February 18, 2020             Boy Scouts of America
                                     BSA Delaware, LLC


                                     Steven P. McGowan
                                     Secretary and General Counsel
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                       EXHIBIT A

                TRUST AGREEMENT

                    (to be supplemented)
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                       EXHIBIT B

         TRUST DISTRIBUTION PROCEDURES

                    (to be supplemented)
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                       EXHIBIT C

         VICTIMS COMPENSATION TRUSTEE

                    (to be supplemented)
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                       EXHIBIT D

           TRUST ADVISORY COMMITTEE

                    (to be supplemented)
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                      EXHIBIT E

               IDENTIFIED PROPERTY
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EXHIBIT E - LISTING OF IDENTIFIED PROPERTY
Boy Scouts of America (excluding subsidiaries & affiliates)
Breakdown of Assets as of 11/30/19
Unaudited
Subject to Amendment
                                                         Balance as of                           Identified               Other
                                                         11/30/2019                               Property               Property
     Cash
        Cash                                           $ 123,102,266                         $     39,987,574        $        83,114,692
        Restricted Cash - LC Collateral (JPM)                62,773,574                            62,773,574                          -
           Total Cash                                       185,875,840                           102,761,148                 83,114,692
       Investments
         General Investments                                      192,500,191                      81,114,899                111,385,293
         Order of the Arrow                                         7,399,346                       7,399,346                        -
            Total Investments                                     199,899,538                      88,514,245                111,385,293

       Land & Buildings
         Admin Buildings in TX                                       4,160,897                                 -               4,160,897
         Supply & Distribution - Charlotte, NC                       3,026,876                                 -               3,026,876
           Subtotal Land & Buildings                                 7,187,774                                 -               7,187,774
         High Adventure Facilities: 1
         Philmont Scout Ranch                                       40,058,766                     40,058,766                        -
         Florida Sea Base                                           16,702,866                     16,702,866                        -
         Northern Tier                                               6,561,178                      6,561,178                        -
           Subtotal Adventure Bases                                 63,322,810                     63,322,810                            -
            Total Land & Buildings                                  70,510,584                     63,322,810                  7,187,774
       Furniture & Equipment                                        29,906,205                                 -              29,906,205
       Accounts Receivable                                          23,651,417                                 -              23,651,417
       Pledges Receivable (NPV, net of allowances)
         Donor Restricted Pledges Receivable, net                   52,949,984                     52,949,984                        -
         Unrestricted Receivable, net                               12,800,000                              -                 12,800,000
           Total Pledge Receivable                                  65,749,984                     52,949,984                 12,800,000
       Inventory                                                    67,948,152                                 -              67,948,152

       Prepaids & Deferred Charges                                  21,686,203                                 -              21,686,203

       Other Assets
         Misc Summit Assets                                          6,012,908                      6,012,908                        -
         Gift Annuity & Pooled Income Investments                    8,117,898                      8,117,898                            -
           Total Other Assets                                       14,130,806                     14,130,806                            -
       Other Receivables
         Note Receivable from Arrow WV                            345,396,380                     345,396,380                        -
         Other Interfund Rec/(Pay)                                (10,594,646)                              -                (10,594,646)
           Total Interfund Receivable                             334,801,734                     345,396,380                (10,594,646)

     TOTAL ASSETS PER BALANCE SHEET                          $ 1,014,160,463                 $    667,075,374        $       347,085,089

     OFF BALANCE SHEET ASSETS
       Oil & Gas Royalties                                                     -                                               √
       Artwork - Original Rockwell paintings, etc.                             -                                               √

 1
     The Summit high adventure facility is in a separate legal entity, Arrow WV. BSA has a note receivable due from Arrow.
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                       EXHIBIT F

                    LOCAL COUNCILS
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Abraham Lincoln                             Chippewa Valley
Alabama-Florida                             Choctaw Area
Alameda                                     Cimarron
Alamo Area                                  Circle Ten
Allegheny Highlands                         Coastal Carolina
Aloha                                       Coastal Georgia
Andrew Jackson                              Colonial Virginia
Anthony Wayne Area                          Columbia-Montour
Arbuckle Area                               Connecticut Rivers
Atlanta Area                                Connecticut Yankee
Baden-Powell                                Conquistador
Baltimore Area                              Cornhusker
Bay Area                                    Coronado Area
Bay-Lakes                                   Cradle of Liberty
Black Hills Area                            Crater Lake
Black Swamp Area                            Crossroads of America
Black Warrior                               Dan Beard
Blackhawk Area                              Daniel Boone
Blue Grass                                  Daniel Webster
Blue Mountain                               De Soto Area
Blue Ridge                                  Del-Mar-Va
Blue Ridge Mountains                        Denver Area
Buckeye                                     East Carolina
Buckskin                                    East Texas Area
Bucktail                                    Erie Shores
Buffalo Trace                               Evangeline Area
Buffalo Trail                               Far East
Caddo Area                                  Five Rivers
Calcasieu Area                              Flint River
California Inland Empire                    French Creek
Cape Cod and Islands                        Gamehaven
Cape Fear                                   Garden State
Capitol Area                                Gateway Area
Cascade Pacific                             Georgia-Carolina
Catalina                                    Glacier's Edge
Central Florida                             Golden Empire
Central Georgia                             Golden Spread
Central Minnesota                           Grand Canyon
Central North Carolina                      Grand Columbia
Chattahoochee                               Grand Teton
Cherokee Area                               Great Alaska
Cherokee Area                               Great Lakes
Chester County                              Great Rivers
Chickasaw                                   Great Salt Lake
Chief Cornplanter                           Great Smoky Mountain
Chief Seattle                               Great Southwest
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Great Trail                                    Mayflower
Greater Alabama                                Mecklenburg County
Greater Los Angeles Area                       Miami Valley
Greater New York                               Mid-America
Greater Niagara Frontier                       Middle Tennessee
Greater St. Louis Area                         Mid-Iowa
Greater Tampa Bay Area                         Midnight Sun
Greater Wyoming                                Minsi Trails
Greater Yosemite                               Mississippi Valley
Green Mountain                                 Mobile Area
Greenwich                                      Monmouth
Gulf Coast                                     Montana
Gulf Stream                                    Moraine Trails
Hawk Mountain                                  Mount Baker
Hawkeye Area                                   Mount Diablo Silverado
Heart of America                               Mountaineer Area
Heart of New England                           Muskingum Valley
Heart of Virginia                              Narragansett
Hoosier Trails                                 National Capital Area
Housatonic                                     Nevada Area
Hudson Valley                                  New Birth of Freedom
Illowa                                         North Florida
Indian Nations                                 Northeast Georgia
Indian Waters                                  Northeast Illinois
Inland Northwest                               Northeast Iowa
Iroquois Trail                                 Northeastern Pennsylvania
Istrouma Area                                  Northern Lights
Jayhawk Area                                   Northern New Jersey
Jersey Shore                                   Northern Star
Juniata Valley                                 Northwest Georgia
Katahdin Area                                  Northwest Texas
Lake Erie                                      Norwela
Las Vegas Area                                 Occoneechee
LaSalle                                        Ohio River Valley
Last Frontier                                  Old Hickory
Laurel Highlands                               Old North State
Leatherstocking                                Orange County
Lincoln Heritage                               Oregon Trail
Long Beach Area                                Ore-Ida
Longhorn                                       Overland Trails
Longhouse                                      Ozark Trails
Longs Peak                                     Pacific Harbors
Los Padres                                     Pacific Skyline
Louisiana Purchase                             Palmetto
Marin                                          Pathway to Adventure
Mason-Dixon                                    Patriots’ Path



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Pee Dee Area                                   Suwannee River Area
Pennsylvania Dutch                             Tecumseh
Piedmont                                       Texas Southwest
Piedmont                                       Texas Trails
Pikes Peak                                     Theodore Roosevelt
Pine Burr Area                                 Three Fires
Pine Tree                                      Three Harbors
Pony Express                                   Three Rivers
Potawatomi Area                                Tidewater
Prairielands                                   Transatlantic
President Gerald R. Ford                       Trapper Trails
Puerto Rico                                    Tukabatchee Area
Pushmataha Area                                Tuscarora
Quapaw Area                                    Twin Rivers
Quivira                                        Twin Valley
Rainbow                                        Utah National Parks
Redwood Empire                                 Ventura County
Rio Grande                                     Verdugo Hills
Rip Van Winkle                                 Voyageurs Area
Rocky Mountain                                 W.D. Boyce
Sagamore                                       Washington Crossing
Sam Houston Area                               Water and Woods
Samoset                                        West Tennessee Area
San Diego-Imperial                             Westark Area
San Francisco Bay Area                         Westchester-Putnam
Santa Fe Trail                                 Western Los Angeles County
Seneca Waterways                               Western Massachusetts
Sequoia                                        Westmoreland-Fayette
Sequoyah                                       Winnebago
Shenandoah Area                                Yocona Area
Silicon Valley Monterey Bay                    Yucca
Simon Kenton
Sioux
Snake River
South Florida
South Georgia
South Plains
South Texas
Southeast Louisiana
Southern Shores
Southern Sierra
Southwest Florida
Spirit of Adventure
Stonewall Jackson Area
Suffolk County
Susquehanna



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                      EXHIBIT G

          RELATED NON-DEBTOR ENTITIES
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Arrow WV, Inc.
Atikaki Youth Ventures Inc.
Atikokan Youth Ventures Inc.
BSA Asset Management, LLC
BSA Endowment Master Trust
Learning for Life
National Boy Scouts of America Foundation
NewWorld19, LLC
Texas BSA, LLC
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                       EXHIBIT H

      LOCAL COUNCIL TRUST CONTRIBUTIONS

                    (to be supplemented)
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                        EXHIBIT I

 CHARTERED ORGANIZATION TRUST CONTRIBUTIONS

                    (to be supplemented)
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                        EXHIBIT J

         REJECTED CONTRACTS SCHEDULE

                    (to be supplemented)
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                       EXHIBIT K

         RESTATED 2010 BOND DOCUMENTS

                    (to be supplemented)
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                       EXHIBIT L

         RESTATED 2012 BOND DOCUMENTS

                    (to be supplemented)
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                       EXHIBIT M

    RESTATED 2010 CREDIT FACILITY DOCUMENTS

                    (to be supplemented)
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                       EXHIBIT N

          RESTATED 2019 RCF DOCUMENTS

                    (to be supplemented)
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                       EXHIBIT O

        SUMMARY OF EXIT FACILITY TERMS

                    (to be supplemented)
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                       EXHIBIT P

 REORGANIZED DEBTORS’ DIRECTORS AND OFFICERS

                    (to be supplemented)
